             Case:23-14137-KHT Doc#:1 Filed:09/14/23                                  Entered:09/14/23 15:47:23 Page1 of 87


Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF COLORADO

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                GWD Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA American Overhead Door
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  4336 N. Nevada Avenue
                                  Colorado Springs, CO 80907
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  El Paso                                                         Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://wedogaragedoors.com/


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 1
             Case:23-14137-KHT Doc#:1 Filed:09/14/23                                       Entered:09/14/23 15:47:23 Page2 of 87
Debtor    GWD Inc.                                                                                     Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
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Debtor    GWD Inc.                                                                                        Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                              50-99                                            5001-10,000                                 50,001-100,000
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999


15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
            Case:23-14137-KHT Doc#:1 Filed:09/14/23                    Entered:09/14/23 15:47:23 Page4 of 87
Debtor   GWD Inc.                                                               Case number (if known)
         Name

                         $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                         $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                         $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
             Case:23-14137-KHT Doc#:1 Filed:09/14/23                                    Entered:09/14/23 15:47:23 Page5 of 87
Debtor    GWD Inc.                                                                                 Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      September 14, 2023
                                                  MM / DD / YYYY


                             X /s/ Gary Dejong                                                            Gary Dejong
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X /s/ Jonathan M. Dickey                                                      Date September 14, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Jonathan M. Dickey
                                 Printed name

                                 Kutner Brinen Dickey Riley PC
                                 Firm name

                                 1660 Lincoln Street, Suite 1720
                                 Denver, CO 80264
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     303-832-2400                  Email address      jmd@kutnerlaw.com

                                 46981 CO
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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Fill in this information to identify the case:

Debtor name         GWD Inc.

United States Bankruptcy Court for the:     DISTRICT OF COLORADO

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       September 14, 2023              X /s/ Gary Dejong
                                                           Signature of individual signing on behalf of debtor

                                                            Gary Dejong
                                                            Printed name

                                                            President
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
          Case:23-14137-KHT Doc#:1 Filed:09/14/23                                                                        Entered:09/14/23 15:47:23 Page7 of 87

Fill in this information to identify the case:

Debtor name           GWD Inc.

United States Bankruptcy Court for the:                      DISTRICT OF COLORADO

Case number (if known)
                                                                                                                                                                                     Check if this is an
                                                                                                                                                                                     amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                12/15

Part 1:     Summary of Assets


1.   Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

     1a. Real property:
         Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

     1b. Total personal property:
         Copy line 91A from Schedule A/B.........................................................................................................................                     $           748,024.99

     1c. Total of all property:
         Copy line 92 from Schedule A/B...........................................................................................................................                    $           748,024.99


Part 2:     Summary of Liabilities


2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        1,172,047.48


3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
         Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $           113,316.87

     3b. Total amount of claims of nonpriority amount of unsecured claims:
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        1,804,210.62


4.   Total liabilities .......................................................................................................................................................
     Lines 2 + 3a + 3b                                                                                                                                                           $           3,089,574.97




Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
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Fill in this information to identify the case:

Debtor name         GWD Inc.

United States Bankruptcy Court for the:     DISTRICT OF COLORADO

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number


          3.1.     Ent Checking                                                                                                                             $0.00




          3.2.     Ent Savings                                                                                                                        $173.83




          3.3.     Integrity                                                                                                                        $3,048.75




          3.4.     Vectra                                                                                  1684                                     $6,189.17




          3.5.     Vectra Savings                                                                                                                       $85.03



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                      $9,496.78
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments

Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                                         page 1
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Debtor       GWD Inc.                                                                       Case number (If known)
             Name

6. Does the debtor have any deposits or prepayments?

      No. Go to Part 3.
      Yes Fill in the information below.


Part 3:      Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.

11.       Accounts receivable
          11a. 90 days old or less:                  450,238.21        -                                   0.00 = ....                $450,238.21
                                      face amount                             doubtful or uncollectible accounts




12.       Total of Part 3.                                                                                                        $450,238.21
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:      Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.


Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.


Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.

          General description                                              Net book value of         Valuation method used   Current value of
          Include year, make, model, and identification numbers            debtor's interest         for current value       debtor's interest
          (i.e., VIN, HIN, or N-number)                                    (Where available)

47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                         page 2
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Debtor      GWD Inc.                                                        Case number (If known)
            Name

         47.1.   2009 Ford F250                                            $0.00                         $3,800.00


         47.2.   2001 Ford F150                                            $0.00    KBB                  $2,000.00


         47.3.   2015 Chevy Silverado                                      $0.00    KBB                 $10,000.00


         47.4.   2004 Ford F150                                            $0.00    KBB                  $1,000.00


         47.5.   2004 Chevy Silverado 2500                                 $0.00    KBB                  $1,500.00


         47.6.   2017 Chevy Silverado 3500HD                               $0.00    KBB                 $15,000.00


         47.7.   2021 Chevy Silverado 4DR                                  $0.00    KBB                 $21,000.00


         47.8.   2014 Chevy Silverado 2500HD
                 (transmission is blown - vehicle is
                 currently inoperable)                                     $0.00    KBB                  $5,590.00


         47.9.   2023 Land Rover Defender                                  $0.00    KBB                 $77,000.00


         47.10
         .     2003 Chevy 1500                                             $0.00    KBB                  $2,000.00


         47.11
         .     2018 Nissan Titan                                           $0.00    KBB                  $7,000.00


         47.12
         .     2015 Chevy Colorado                                         $0.00    KBB                  $4,000.00


         47.13
         .     2001 GMC Yukon XL                                           $0.00    KBB                  $4,000.00


         47.14
         .     2022 Chevy Silverado                                        $0.00    KBB                 $15,000.00


         47.15
         .     2002 GMC Sierra - being scrapped                            $0.00                               $0.00


         47.16
         .     2019 Mercedes C                                             $0.00    KBB                 $30,000.00


         47.17
         .     2015 Chevy Silverado                                        $0.00    KBB                 $15,000.00


         47.18
         .     2019 Mercedes Sprinter                                      $0.00    KBB                 $19,000.00




Official Form 206A/B                         Schedule A/B Assets - Real and Personal Property                  page 3
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Debtor      GWD Inc.                                                      Case number (If known)
            Name

         47.19
         .     2011 Dodge 2500 - being scrapped                          $0.00                               $0.00


         47.20
         .     2010 Chevy Silverado                                      $0.00    KBB                  $3,500.00


         47.21
         .     2000 Ford F250                                            $0.00    KBB                  $1,800.00


         47.22
         .     2004 Ford F150                                            $0.00    KBB                  $1,000.00


         47.23
         .     2005 Ford F150                                            $0.00    KBB                  $1,000.00


         47.24
         .     2012 Ford F350                                            $0.00    KBB                  $2,000.00


         47.25
         .     2004 GMC Sierra                                           $0.00    KBB                  $1,500.00


         47.26
         .     2021 Chevy Silverado 4DR                                  $0.00    KBB                 $21,000.00


         47.27
         .     2014 Ford F250                                            $0.00    KBB                  $1,500.00


         47.28
         .     2022 Chevy Silverado                                      $0.00    KBB                 $15,000.00


         47.29
         .     1999 Chevy 3500HD                                         $0.00                         Unknown


         47.30
         .     2005 Chevy Silverado                                      $0.00                         Unknown


         47.31
         .     2005 Ford Expedition                                      $0.00                         Unknown


         47.32
         .     Flatbed trailer                                           $0.00                         $1,000.00


         47.33
         .     Flatbed trailer - being scrapped                          $0.00                               $0.00


         47.34
         .     2007 BTLT trailer                                         $0.00                         $1,000.00


         47.35
         .     1987 TRL trailer                                          $0.00                          $100.00




Official Form 206A/B                       Schedule A/B Assets - Real and Personal Property                  page 4
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Debtor        GWD Inc.                                                                     Case number (If known)
              Name

           47.36
           .     1990 HDME Trailer                                                       $0.00                           $1,000.00


           47.37
           .     1989 Trailer                                                            $0.00                           $1,000.00


           47.38
           .     2007 PAIU Utility trailer                                               $0.00                           $1,000.00


           47.39
           .     2003 HHTC trailer                                                       $0.00                           $1,000.00


           47.40
           .     Silt Trailer                                                            $0.00                           $1,000.00



48.        Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

49.        Aircraft and accessories


50.        Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Clark C25L                                                                    $0.00                              $0.00



51.        Total of Part 8.                                                                                         $288,290.00
           Add lines 47 through 50. Copy the total to line 87.

52.        Is a depreciation schedule available for any of the property listed in Part 8?
              No
              Yes

53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
              No
              Yes

Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.


Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.


Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.
Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                        page 5
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Debtor     GWD Inc.                                           Case number (If known)
           Name




Official Form 206A/B           Schedule A/B Assets - Real and Personal Property                  page 6
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Debtor          GWD Inc.                                                                                            Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                              $9,496.78

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                   $450,238.21

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                                   $0.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $288,290.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                            $748,024.99           + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $748,024.99




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                       page 7
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                        Customer                                                                       Bill to                                  Primary Contact   Main Phone       Fax   Balance Total
Adesa Auto 2618178                          Adesa Auto 10680 Charter Oak Ranch Road Fountain, CO 80817 USA                                                        (719) 491-3669               427.17
Aime Management 44556044                    Aime Management 1900 East Pikes Peak Avenue Colorado Springs, CO 80909 USA                                            (719) 646-7056               350.00
America 2000 57831695                       America 2000 724 South Tejon Street Colorado Springs, CO 80903 USA                                                    (719) 634-9822               210.00
Armon, Hanglan 56314380                     Armon, Hanglan 1606 Vasquez Circle Colorado Springs, CO 80915 USA                                                     (580) 699-9495                87.50
Artemis At Spring Canyon 22090208           Artemis At Spring Canyon 4510 Spring Canyon Heights Garage 78 Colorado Springs, CO 80907 USA                          (719) 522-9324               690.23
Ascent c/o Griffis Blessing 42984613        Ascent c/o Griffis Blessing 102 Cascade Court Colorado Springs, CO 80907 USA                                          (719) 520-1234               472.50
Aspen View Homes 35749015                   Aspen View Homes 555 Middle Creek Parkway 500 Colorado Springs, CO 80921 USA                                          (719) 246-9200              1,475.49
Associa Colorado Association 7351333        Associa Colorado Association 5225 North Academy Boulevard 200 200 Colorado Springs, CO 80918 USA                      (719) 219-7669               210.00
Aught Six Ranch 56538042                    Aught Six Ranch 33000 Colorado 69 Gardner, CO 81040 USA                                                               (719) 746-0174               570.00
Baer, David 26097293                        Baer, David 19633 Lindenmere Drive Monument, CO 80132 USA                                                             (253) 259-9269             1,451.00
Baird, Hillary 56661024                     Baird, Hillary 29942 Teal Run Buena Vista, CO 81211 USA                                                               (719) 649-8495               314.46
Battery Systems 2617086                     Battery Systems 802 Nichols Blvd Colorado Springs, CO 80907 USA                                                       (719) 396-5705               525.78
Beacon Building Products 46304906           Beacon Building Products 3170 North Century Street Colorado Springs, CO 80907 USA                                     (719) 246-1217               110.00
Block 7 Developement 29465612               Block 7 Developement 5420 Greenhorn Circle Salida, CO 81201 USA                                                       (719) 530-1276              3,129.00
Blue Sky Condos 55219338                    Blue Sky Condos 42 Snowflake Drive Breckenridge, CO 80424 USA                                                         (970) 445-0693               210.00
Boro, Bill 57536258                         Boro, Bill 7180 McCoy Street Salida, CO 81201 USA                                                                     (719) 221-3805               326.02
Shea Homes 38336652                         Shea Homes 11264 Star Streak Lane Littleton, CO 80125 USA                                                             (720) 348-3330            74,461.01
Meritage Homes 13139314                     Meritage Homes 8400 East Crescent Parkway STE 600 Greenwood Village, CO 80111 USA                                     (303) 406-4301            36,442.80
Creekstone Homes 2611809                    Creekstone Homes 3472 Research Parkway Ste 104 PMB 481 Colorado Springs, CO 80920 USA                                 (703) 489-2847            33,705.14
Homebound Homes 44327440                    Homebound Homes 1 Letterman Drive c 3500 San Francisco, CA 94129 USA                                                  (707) 244-1101            32,380.73
Milender White 21987673                     Milender White 330 Adams Avenue Silverthorne, CO 80498 USA                                                            (720) 582-9292            26,061.07
Thrive Home Builders 30369809               Thrive Home Builders 1875 Lawrence Street 900 Denver, CO 80202 USA                                                    (303) 707-4435            25,586.09
Pinnacle Peak Homes 7296792                 Pinnacle Peak Homes 1713 Park St. Castle Rock, CO 80104 USA                                                           (720) 500-7663            12,290.19
Gach, Eva 49163030                          Gach, Eva 1475 Golden Eagle Road Silverthorne, CO 80498 USA                                                           (970) 368-0599            11,806.50
Riverwood Homes of Colorado, Inc. 2613075   Riverwood Homes of Colorado, Inc. 1480 Lone Scout Lookout Monument, CO 80132 USA                                      (719) 481-9392            10,610.92
Red House Architecture 34439306             Red House Architecture 815 Blake Avenue Glenwood Springs, CO 81601 USA                                                (970) 945-8240              8,784.00
Cooper, Bryan 26592150                      Cooper, Bryan 430 Forge Road Caon City, CO 81212 USA                                                                  (719) 671-7394              8,050.00
Residences at Falcon North 40129193         Residences at Falcon North 11766 Wilshire Boulevard #15th Floor Los Angeles, CA 90025 USA                             (719) 650-2677              6,194.00
McNeill, Evin 43942182                      McNeill, Evin PO Box 2501 Silverthorne, CO 80498 USA                                                                  (970) 485-2282             5,901.00
Delarue Building 26439696                   Delarue Building 214 Jones Avenue b Salida, CO 81201 USA                                                              (719) 207-3998             5,746.00
Frye, Brian 45514892                        Frye, Brian 230 Pinon Lake Drive Divide, CO 80814 USA                                                                 (719) 649-5236             5,685.00
Defurio Homes 2618258                       Defurio Homes 13501 US Highway 285 Salida, CO 81201 USA                                                               (719) 395-1165              5,262.00
Timberlake, Mark 36493707                   Timberlake, Mark PO Box 5657 Frisco, CO 80443 USA                                                                     (573) 881-5684              5,254.50
IICon Construction 2616650                  IICon Construction 76 South Sierra Madre Street 230 Colorado Springs, CO 80903 USA                                    (719) 623-7374              4,921.50
Murray, Eddie 41224586                      Murray, Eddie PO Box 551 New Castle, CO 81647 USA                                                                     (970) 948-1429              4,772.25
Heart of the Rockies Regional 12531697      Heart of the Rockies Regional 1000 Rush Drive Salida, CO 81201 USA                                                    (719) 530-2374             4,000.00
Mantila, Mark 45356300                      Mantila, Mark 9502 Roe Circle Franktown, CO 80116 USA                                                                 (760) 801-2783              3,991.50
Wakeham, Steve 44845195                     Wakeham, Steve 10555 South State Highway 83 Franktown, CO 80116 USA                                                   (303) 803-7326              3,987.50
Wickberg, Art 30670346                      Wickberg, Art 3085 Fuller Road Colorado Springs, CO 80920 USA                                                         (719) 323-8340             3,885.00
Town @ Northgate Apartments 50720269        Town @ Northgate Apartments 1203 Affirmed View Colorado Springs, CO 80921 USA                                         (720) 660-0233              3,574.32
Larochell, David 30880522                   Larochell, David PO Box 691 Salida, CO 81201 USA                                                                      (402) 301-5816             3,470.40
Vanguard Homes 12272627                     Vanguard Homes 7025 Tall Oak Dr 210 Colorado Springs, CO 80919 USA                                                    (719) 487-8957              3,444.48
Gregoire Homes 32107813                     Gregoire Homes 3255 El Pomar Road Colorado Springs, CO 80906 USA                                                      (719) 491-7444              3,204.96
Lux, Terri J 12203745                       Lux, Terri J 100 Marland Road South Colorado Springs, CO 80906 USA                                                    (719) 520-1005              3,201.42
Cottonwood Master HOA c/o Divers 32639370   Cottonwood Master HOA c/o Diversified 4325 North Nevada Avenue 100 Colorado Springs, CO 80907 USA                     (719) 578-9111              2,757.04
Garcia, Steve 2 2619737                     Garcia, Steve 2 2625 Himalaya Court Colorado Springs, CO 80919 USA                                                    (719) 360-1320              2,707.50
Geocivil Construction, LLC 7544877          Geocivil Construction, LLC PO Box 104 Jefferson, CO 80456 USA                                                         (303) 990-0929              2,645.50
JD Builders 37596836                        JD Builders 2545 Fairview Heights Court Rifle, CO 81650 USA                                                           (970) 250-1809             2,573.25
Ohle, Ernie 32971402                        Ohle, Ernie 6960 Mikado Lane Colorado Springs, CO 80919 USA                                                           (719) 237-5628              2,500.00
Sangre Custom Builders 38643082             Sangre Custom Builders 6363 County Road 255 Westcliffe, CO 81252 USA                                                  (719) 464-4494              2,456.50
Garden of Gods Trading 5814238              Garden of Gods Trading 324 Beckers Lane Manitou Springs, CO 80829 USA                                                 (719) 339-4522              2,400.00
Pavlich, Mike 38990475                      Pavlich, Mike 9512 Eldora Court Arvada, CO 80007 USA                                                                  (303) 949-4075              2,310.00
Parc at Prairie Grass Apartments 29249674   Parc at Prairie Grass Apartments c/o Grif 102 Cascade Court Colorado Springs, CO 80907 USA                            (719) 520-1234              2,246.37
JN Construction 50530442                    JN Construction PO Box 4643 Buena Vista, CO 81211 USA                                                                 (530) 230-8613              1,796.50
Carbonate Real Estate 43547915              Carbonate Real Estate 35 Wheeler Place Frisco, CO 80443 USA                                                           (805) 637-3382             1,650.14
Sage Mountain Builders 10958432             Sage Mountain Builders 1001 Emma Lane D Salida, CO 81201 USA                                                          (719) 839-1400              1,577.50
Palmer, Philip 34552355                     Palmer, Philip 222 Tomkins Lane Buena Vista, CO 81211 USA                                                             (970) 409-0289              1,535.50
Thompson Prop Service 2613508               Thompson Prop Service PO Box 8233 Colorado Springs, CO 80933 USA                                                      (719) 439-1764              1,350.00
Vrooman , Andrew 32778762                   Vrooman , Andrew 9920 Hodgen Road Colorado Springs, CO 80908 USA                                                      (602) 370-3480              1,300.00
Cross County Freight Solutions 41839884     Cross County Freight Solutions PO Box 4030 Bismark, ND 58502 USA                                                      (970) 316-2881              1,275.00
Van Horn, Candice 55977892                  Van Horn, Candice 5390 Whip Trail Colorado Springs, CO 80917 USA                                                      (903) 802-4034              1,268.00
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National Green Source 56688138              National Green Source 1900 South Freeway Pueblo, CO 81004 USA                                               (602) 402-6039                    1,237.50
Stratton Preserve c/o Diversifie 27795083   Stratton Preserve c/o Diversified Associa 4325 North Nevada Avenue #100 Colorado Springs, CO 80907 USA      (719) 314-4504                    1,232.72
McMurtrie, Elizabeth 53560842               McMurtrie, Elizabeth 500 Cedar Hill Road Ambler, PA 19002 USA                                               (215) 317-3037                    1,170.60
Kaizen Collision Center 44243107            Kaizen Collision Center 716 Park Avenue Salida, CO 81201 USA                                                (719) 539-7359                    1,164.89
Commerce Center Builders 5898242            Commerce Center Builders 7505 Gillen Road Colorado Springs, CO 80919 USA                                    (719) 415-7419                    1,116.28
Evoqua Water 2616334                        Evoqua Water 725 Wooten Road Colorado Springs, CO 80915 USA                                                 (719) 570-9600                    1,104.44
Van Deel, Roger 2617556                     Van Deel, Roger PO Box 362 Buena Vista, CO 81211 USA                                                        (719) 207-0273                    1,083.46
Maness, Christina 56849803                  Maness, Christina 735 Ute Avenue Rifle, CO 81650 USA                                                        (720) 941-7329                    1,051.95
P & C Enterprises, LLC 39226250             P & C Enterprises, LLC PO Box 382 Buena Vista, CO 81211 USA                                                 (719) 239-1758                    1,050.00
Home Depot 1525 22416778                    Home Depot 1525 295 Yoder Avenue Avon, CO 81620 USA                                                         (970) 748-9483                    1,042.00
Dahl Supply and Plumbing 57191475           Dahl Supply and Plumbing 1960 Airport Road Rifle, CO 81650 USA                                              (517) 673-7265                    1,031.68
Detlof, Emmy 46895389                       Detlof, Emmy 19750 Elbert Road Elbert, CO 80106 USA                                                         (719) 439-5604                     975.00
Keith, Kim 46696082                         Keith, Kim 543 Morning Star Road Cotopaxi, CO 81223 USA                                                     (719) 930-6515                     971.20
Hartmann, John 23357836                     Hartmann, John 13680 County Road 261B Nathrop, CO 81236 USA                                                 (503) 577-9956                     930.00
Home Depot 1540 2614853                     Home Depot 1540 1200 Mayberry Drive Highlands Ranch, CO 80129 USA                                           (720) 344-7645                     886.00
Montgomery, Daniel 49875466                 Montgomery, Daniel 5105 West Mississippi Avenue Denver, CO 80219 USA                                        (303) 249-9966                     872.00
Vargas-Hererra, Luis 56363731               Vargas-Hererra, Luis 49 Pinyon Place Parachute, CO 81635 USA                                                (970) 274-7749                     828.00
HHI Corp 2621478                            HHI Corp 736 West Harrisville Road Harrisville, UT 84404 USA                                                (385) 333-4400                     790.00
Tri Lakes Fire 2609022                      Tri Lakes Fire 16055 Old Forest Point 102 Monument, CO 80132 USA                                            (719) 820-3422                     788.70
Home Depot 1509 55718386                    Home Depot 1509 9401 East Arapahoe Road Greenwood Village, CO 80111 USA                                     (303) 799-9071                     788.00
Valone, Marcus 32412064                     Valone, Marcus 8170 Poco Road Colorado Springs, CO 80908 USA                                                (719) 460-5637                     784.19
Drywall Material 2620211                    Drywall Material 4285 Northpark Dr. Colorado Springs, CO 80907 USA                                          (719) 531-9900                     653.81
Malone, Lorie 12952939                      Malone, Lorie 1 Polo Drive Colorado Springs, CO 80906 USA                                                   (719) 576-0110                     651.08
Macias, Gricelle 48178442                   Macias, Gricelle 1638 Balsam Court Rifle, CO 81650 USA                                                      (970) 665-8569                     625.00
HomeDepot.com 2609499                       HomeDepot.com P.O. Box 723020 Apt #25 Atlanta, GA 31139 USA                                                 (719) 948-9241                     622.75
Monster Scooters 2619317                    Monster Scooters 5045 Galley Rd Colorado springs, CO 80915 USA                                              (719) 247-4050                     617.41
MSI 40092170                                MSI 2718 Marston Heights Colorado Springs, CO 80920 USA                                                     (303) 420-4433                     600.00
Colorado Lighting 2618079                   Colorado Lighting 2171 E. 74th Ave Denver, CO 80229                                                         (303) 288-3152                     542.90
Vistas at Jackson Creek 2609051             Vistas at Jackson Creek 16112 Old Forest Point Monument, CO 80132 USA                                       (719) 488-2266                     525.00
Home Depot 1549 21358574                    Home Depot 1549 4277 South Eldridge Street Morrison, CO 80465 USA                                           (303) 697-6619                     524.00
Greg Alpine EDGE 39799434                   Greg Alpine EDGE 226 Lusher ct Frisco, CO 80443 USA                                                                                            520.00
Osei, Suzette 34470668                      Osei, Suzette 6024 Meadow Drive Morrison, CO 80465 USA                                                      (610) 223-0892                     500.00
Smith, Mike 41999679                        Smith, Mike 400 East 10th Street Leadville, CO 80461 USA                                                    (719) 398-3456                     500.00
Colorado State Fairgrounds 2621590          Colorado State Fairgrounds 1001 Beulah Avenue Pueblo, CO 81004 USA                                          (719) 404-2000                     491.00
Fowler, Jerry 57352370                      Fowler, Jerry 52 Corral Drive Carbondale, CO 81623 USA                                                      (903) 619-2363                     487.78
Presidio Condos c/o Diversified 29355532    Presidio Condos c/o Diversified Associate 4325 North Nevada Avenue 100 Colorado Springs, CO 80907 USA       (719) 314-4524                     483.26
Griffin, Brian 47951755                     Griffin, Brian 405 Howard Street Eagle, CO 81631 USA                                                        (970) 556-2453                     468.00
Willard, Clarence 22123993                  Willard, Clarence 472 Rocky Mountain View Divide, CO 80814 USA                                              (719) 660-7600                     455.00
Springs Homes For Rent 2609081              Springs Homes For Rent 703 N Tejon, Ste A Colorado Springs, CO 80903 USA                                    (719) 388-4000                     443.00
Rainbow Collision & Auto Glass 49571852     Rainbow Collision & Auto Glass 10680 Charter Oak Ranch Road Fountain, CO 80817 USA                          (719) 390-0163                     441.68
Phases Truck & Auto Repair 7530793          Phases Truck & Auto Repair 1670 Paonia Street Colorado Springs, CO 80915 USA                                (719) 548-8284                     433.97
Guettlein, Brandon 56502168                 Guettlein, Brandon 28 Kyndra Court Caon City, CO 81212 USA                                                  (303) 902-6415                     413.48
Cintas 3 2616411                            Cintas 3 3500 Sunrise Hwy, Bldg 100, Ste 210 PO Bo Great River, NY 11739                                    (719) 599-0048                     406.00
Prospect Electric 57448917                  Prospect Electric 2900 County Road 233 Rifle, CO 81650 USA                                                  (970) 618-9411                     389.24
First and Main Apt's 6226345                First and Main Apt's 6102 Olmsted Point Colorado Springs, CO 80922 USA                                      (719) 634-7383   (719) 375-5506    385.00
Colony Hills Apartments 50702986            Colony Hills Apartments 3860 Patrick Drive 21 Colorado Springs, CO 80916 USA                                (719) 390-5496                     375.00
Ridgepointe at Gleneagle c/o Grif 2612573   Ridgepointe at Gleneagle c/o Griffis Bles 102 North Cascade Avenue 550 Colorado Springs, CO 80903 USA       (719) 203-8260                     371.87
Klus, Kimberly 34647972                     Klus, Kimberly 6301 Perry Park Boulevard 11 Larkspur, CO 80118 USA                                          (407) 701-6504                     371.15
Harrison District 2 2619011                 Harrison District 2 1060 Harrison Road Colorado Springs, CO 80905 USA                                       (719) 360-2995                     368.70
Falcon Property Company 25228170            Falcon Property Company 7222 Commerce Center Drive Suite 220 Colorado Springs, CO 80919 USA                 (719) 895-5600                     366.77
Colorado Appliance 51855277                 Colorado Appliance 582 Gateway Drive Breckenridge, CO 80424 USA                                             (970) 409-2003                     360.00
Girling, Kim 2613043                        Girling, Kim 4155 Solarglen Drive Colorado Springs, CO 80916 USA                                            (719) 351-1350                     350.58
Cornell Storefront 32210320                 Cornell Storefront 140 Maffett St Wilkes-Barre, PA 18705 USA                                                (800) 882-6773   (800) 882-6772    325.00
Pinon Real Estate 2616703                   Pinon Real Estate 36 Trailside Circle Salida, CO 81201 USA                                                  (719) 221-0682                     324.05
Home Depot 1542 2609004                     Home Depot 1542 141 Mackenzie Avenue Caon City, CO 81212 USA                                                (719) 276-2452                     322.25
Widefield Management 2616827                Widefield Management 3 Widefield Blvd Colorado Springs, CO 80911 USA                                        (719) 392-0194                     318.62
Sedona Ridge c/o Griffis Blessin 45049482   Sedona Ridge c/o Griffis Blessing 102 North Cascade Avenue # 550 Colorado Springs, CO 80903 USA             (719) 245-1204                     315.00
Swan, Andrea and Tony 46978593              Swan, Andrea and Tony 2190 Arapahoe Street Woodland Park, CO 80863 USA                                      (317) 760-8280                     315.00
Chalk Creek Consulting 12793049             Chalk Creek Consulting 18860 County Road 162 Nathrop, CO 81236 USA                                          (719) 388-3104                     300.00
Colorado Parks and Wildlife 6137266         Colorado Parks and Wildlife 24507 US Highway 285 Fairplay, CO 80440 USA                                     (719) 539-6877                     299.85
Sinovcic, Ivan 57354001                     Sinovcic, Ivan 420 Reese Road Silverthorne, CO 80498 USA                                                    (970) 470-0115                     294.21
Plummer, Avery 57618218                     Plummer, Avery 1867 Flintshire Street Colorado Springs, CO 80910 USA                                        (225) 361-5094                     294.02
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Resort at University Park 37784596          Resort at University Park 1925 Seclusion Point B Colorado Springs, CO 80918 USA                                (719) 277-7500       294.02
Talon Hill Apartments 31908117              Talon Hill Apartments 1640 Peregrine Vista Heights Colorado Springs, CO 80921 USA                              (719) 225-1850       294.02
E & E Inc. 2617239                          E & E Inc. 625 Illinois Ave. Salida, CO 81201 USA                                                                                   285.00
Sangre De Cristo Electric 57298606          Sangre De Cristo Electric 56495 Colorado 69 Westcliffe, CO 81252 USA                                           (719) 398-3243       285.00
Young, Ingrid 53696778                      Young, Ingrid 7453 Campstool Drive Colorado Springs, CO 80922 USA                                              (719) 229-5106       274.56
MW Golden Constructors 46905483             MW Golden Constructors 1700 Park Street Castle Rock, CO 80109 USA                                              (720) 552-4569       260.50
Templeton Ridge Town 2611929                Templeton Ridge Town 4766 Winewood Village Drive Colorado Springs, CO 80917 USA                                (719) 596-6401       249.66
Brown, James 56565309                       Brown, James 814 I Street Salida, CO 81201 USA                                                                 (505) 350-1922       240.00
Lansing Building Materials 33283737         Lansing Building Materials 2450 Zeppelin Dr Colorado Springs, CO 80916 USA                                     (719) 573-5091       227.86
Champions @ Norwood 43556243                Champions @ Norwood 4505 Dublin Boulevard Colorado Springs, CO 80923 USA                                       (719) 282-5085       224.02
Peterson Space Force Base East G 52632718   Peterson Space Force Base East Gate 2 Marksheffel Road Colorado Springs, CO 80916 USA                          (832) 244-0662       220.00
Levy, Johnny 13048321                       Levy, Johnny 1025 Cragin Road Colorado Springs, CO 80920 USA                                                   (303) 596-0523       215.58
Front Range Arborist 2615705                Front Range Arborist 5080 Geiger Blvd. Colorado Springs, CO 80915                                              (719) 635-7459       210.00
Moriarty Roofing 2616952                    Moriarty Roofing 4725 Town Center Dr. Suite A Colorado Springs, CO 80916                                       (719) 419-7747       210.00
Peterson Space Force Base 55997016          Peterson Space Force Base 2032 Stewart Avenue Colorado Springs, CO 80916 USA                                   (206) 422-3587       210.00
Pikes Peak Library 2616199                  Pikes Peak Library PO Box 1171 Colorado Springs, CO 80901 USA                                                  (719) 243-7925       210.00
Restoration 1 56947751                      Restoration 1 704 Arrawanna Street Colorado Springs, CO 80909 USA                                              (719) 755-7510       210.00
Rizley, Keith 2618720                       Rizley, Keith PO Box 720 Sayre, OK 73662                                                                       (719) 539-7001       210.00
Sierra Properties In 2618425                Sierra Properties In 1150 Academy Park Loop 104 Colorado Springs, CO 80910 USA                                 (719) 591-6777       210.00
Strawberry Fields Condo HOA c/o 57601294    Strawberry Fields Condo HOA c/o Rowcal 3605 Strawberry Field Grove Colorado Springs, CO 80906 USA              (719) 339-8132       210.00
The Brass Tap 23965217                      The Brass Tap 13271 Bass Pro Drive 110 Colorado Springs, CO 80921 USA                                          (719) 661-1710       210.00
Town Center Condos 57444544                 Town Center Condos 116 South 5th Avenue Frisco, CO 80443 USA                                                   (970) 485-1598       210.00
Viridian Edge at the Park 7530404           Viridian Edge at the Park 6236 Twin Oaks Drive Colorado Springs, CO 80918 USA                                  (719) 594-0314       210.00
Warren Management 49561762                  Warren Management 1720 Jet Stream Drive 200 Colorado Springs, CO 80921 USA                                     (719) 534-0266       210.00
Williams Body and Paint 52642314            Williams Body and Paint 6210 Lake Shore Court Colorado Springs, CO 80915 USA                                   (719) 638-4849       210.00
Winair Co. 2616087                          Winair Co. 3110 North Stone Avenue 180 Colorado Springs, CO 80907 USA                                          (719) 328-9700       210.00
Wolf Ranch HOA C/O Warren Manage 55190538   Wolf Ranch HOA C/O Warren Management Jet Stream Drive 200 Colorado Springs, CO 80921 USA                       (719) 685-7829       210.00
Woodford Manufacturing 2615974              Woodford Manufacturing 2121 Waynoka Road Colorado Springs, CO 80915 USA                                        (719) 313-0244       210.00
Halbert, John 34376202                      Halbert, John 2411 Barkman Drive Colorado Springs, CO 80916 USA                                                (719) 321-4318       199.42
Kedrowski, Bob 23013656                     Kedrowski, Bob 1335 Cordillera Way Edwards, CO 81632 USA                                                       (970) 470-2361       195.70
De steel 34088845                           De steel 5725 Observation Court Colorado Springs, CO 80916 USA                                                 (719) 203-8624       175.00
Meritage 57855002                           Meritage 518 Red Valley Trail Castle Rock, CO 80108 USA                                                                             175.00
Pike West 55850013                          Pike West P O Box 2009 Leadville, CO 80461 USA                                                                 (573) 987-7685       175.00
Sides, Francis 2612411                      Sides, Francis 5298 Crackerbarrel Circle Colorado Springs, CO 80907                                            (719) 338-6275       175.00
Vue 21 Apartments 2616468                   Vue 21 Apartments 4610 Nautilus Peak View Colorado Springs, CO 80924 USA                                       (719) 520-0568       175.00
Huppertz, Susan 12304477                    Huppertz, Susan 11873 Saddle Horn Court Salida, CO 81201 USA                                                   (719) 237-2775       172.42
Hily, Cornelia 57825576                     Hily, Cornelia 1717 Redbank Drive Colorado Springs, CO 80921 USA                                               (719) 213-4913       166.25
Shield Moving 34196491                      Shield Moving 1900 Airport Road Rifle, CO 81650 USA                                                            (802) 274-2319       145.00
Thrasos Media Group LLC 50286992            Thrasos Media Group LLC 4680 Edison Avenue C Colorado Springs, CO 80915 USA                                    (719) 277-0700       131.59
Sage Brook Apartments 2610749               Sage Brook Apartments 2555 Raywood View Colorado Springs, CO 80920 USA                                         (719) 495-8900       129.84
Courtyards of Newport HOA C/O Wa 44502805   Courtyards of Newport HOA C/O Warren Mana 102 North Cascade Avenue Colorado Springs, CO 80903 USA              (719) 685-7829       110.00
Daugherty, James 57619000                   Daugherty, James 1560 Enoch Road Colorado Springs, CO 80930 USA                                                (478) 957-0748       110.00
Great West Construction 6516265             Great West Construction 1491 Tuskegee Place c Colorado Springs, CO 80915 USA                                   (719) 380-8100       110.00
Johns, David 2616383                        Johns, David 949 F Street Salida, CO 81201                                                                     (303) 321-1600       110.00
Joseph, David A 7159586                     Joseph, David A 3461 Clubheights Court Colorado Springs, CO 80906 USA                                          (719) 238-5339       110.00
Pinecrest c/o Griffis Blessing 34534034     Pinecrest c/o Griffis Blessing 3734 E La Salle Colorado Springs, CO 80909 USA                                  (719) 596-9062       110.00
RAN / Frequent Flyer 57454935               RAN / Frequent Flyer 2176 Victor Place Colorado Springs, CO 80915 USA                                          (719) 359-1723       110.00
Reddy Ice 2614991                           Reddy Ice 4325 North Park Dr Colorado Springs, CO 80907 USA                                                    (719) 210-8421       110.00
Sukhanenko, Kateryna 57219119               Sukhanenko, Kateryna 17 Pine Ridge Road Basalt, CO 81621 USA                                                   (970) 306-2138       110.00
Thirteen20 Apartments 2616458               Thirteen20 Apartments 1320 Potter Dr Colorado Springs, CO 80909 USA                                            (719) 716-9015       110.00
Home Depot 1511 2609154                     Home Depot 1511 4450 North Freeway Road Pueblo, CO 81008 USA                                                   (719) 406-6765        88.00
Knowlton, Amanda 22716564                   Knowlton, Amanda 1710 North Wild Bill Hickock Drive Pueblo West, CO 81007 USA                                  (719) 569-2486        87.50
Cord, Arnold 10831221                       Cord, Arnold 37 Red Wing Terrace Colorado Springs, CO 80906 USA                                                (719) 306-9357        75.00
Pine Terrace HOA c/o Diversified 27011978   Pine Terrace HOA c/o Diversified Associat 4325 North Nevada Avenue 100 Colorado Springs, CO 80907 USA          (719) 578-9111        55.00
Summit Resort Group 51949962                Summit Resort Group PO Box 2590 Dillion, CO 80435 USA                                                          (970) 468-9137        55.00
                                                                                                                                                                            450,238.21
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Fill in this information to identify the case:

Debtor name         GWD Inc.

United States Bankruptcy Court for the:           DISTRICT OF COLORADO

Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
Part 1:      List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
2.1   Ally                                         Describe debtor's property that is subject to a lien                   $35,043.98                $15,000.00
      Creditor's Name                              2022 Chevy Silverado
      P.O. Box 9001948
      Louisville, KY 40290-1948
      Creditor's mailing address                   Describe the lien

                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.



2.2   De Lage Landen                               Describe debtor's property that is subject to a lien                     $2,688.00                     $0.00
      Creditor's Name                              Clark C25L
      PO Box 41602
      Philadelphia, PA
      19101-1602
      Creditor's mailing address                   Describe the lien

                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      2/26/19                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      4501
      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply



Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 6
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Debtor      GWD Inc.                                                                              Case number (if known)
            Name

          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.3   ENT Credit Union                            Describe debtor's property that is subject to a lien                     $74,036.23   $77,000.00
      Creditor's Name                             2023 Land Rover Defender
      P.O. Box 16769
      Colorado Springs, CO
      80935
      Creditor's mailing address                  Describe the lien
                                                  Purchase Money Security
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.4   ENT Credit Union                            Describe debtor's property that is subject to a lien                      $3,873.12    $4,000.00
      Creditor's Name                             2015 Chevy Colorado
      P.O. Box 16769
      Colorado Springs, CO
      80935
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.5   ENT Credit Union                            Describe debtor's property that is subject to a lien                     $48,929.56   $15,000.00
      Creditor's Name                             2022 Chevy Silverado
      P.O. Box 16769
      Colorado Springs, CO
      80935
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No


Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                          page 2 of 6
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Debtor      GWD Inc.                                                                              Case number (if known)
            Name

      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.6   ENT Credit Union                            Describe debtor's property that is subject to a lien                     $36,064.26   $15,000.00
      Creditor's Name                             2015 Chevy Silverado
      P.O. Box 16769
      Colorado Springs, CO
      80935
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.7   ENT Credit Union                            Describe debtor's property that is subject to a lien                     $10,474.10    $2,000.00
      Creditor's Name                             2012 Ford F350
      P.O. Box 16769
      Colorado Springs, CO
      80935
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.8   ENT Credit Union                            Describe debtor's property that is subject to a lien                     $11,559.83    $1,500.00

Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                          page 3 of 6
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Debtor      GWD Inc.                                                                              Case number (if known)
            Name

      Creditor's Name                             2014 Ford F250
      P.O. Box 16769
      Colorado Springs, CO
      80935
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.9   MB Equipment Financing                      Describe debtor's property that is subject to a lien                     $25,334.10   $30,000.00
      Creditor's Name                             2019 Mercedes C
      8310 S. Valley Hwy STE 300
      Englewood, CO 80112
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1
0     MB Equipment Financing                      Describe debtor's property that is subject to a lien                     $15,220.92   $19,000.00
      Creditor's Name                             2019 Mercedes Sprinter
      8310 S. Valley Hwy STE 300
      Englewood, CO 80112
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number




Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                          page 4 of 6
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Debtor      GWD Inc.                                                                              Case number (if known)
            Name

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1
1     Vectra Bank                                 Describe debtor's property that is subject to a lien                     $100,000.00   $450,238.21
      Creditor's Name                             90 days or less: Receivables
      7860 S. Bingham Junction
      Blvd.
      Midvale, UT 84047
      Creditor's mailing address                  Describe the lien
                                                  Line of credit
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      4391
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.
      1. Vectra Bank
      2. Vectra Bank
      3. Vectra Bank

2.1
2     Vectra Bank                                 Describe debtor's property that is subject to a lien                     $653,816.50   $450,238.21
      Creditor's Name                             90 days or less: Receivables
      7860 S. Bingham Junction
      Blvd.
      Midvale, UT 84047
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      7113
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.
      Specified on line 2.11

2.1
3     Vectra Bank                                 Describe debtor's property that is subject to a lien                     $155,006.88   $450,238.21



Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 5 of 6
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Debtor      GWD Inc.                                                                              Case number (if known)
            Name

      Creditor's Name                             90 days or less: Receivables
      7860 S. Bingham Junction
      Blvd.
      Midvale, UT 84047
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      4409
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.
      Specified on line 2.11

                                                                                                                           $1,172,047.4
3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                       8

Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity




Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 6 of 6
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Fill in this information to identify the case:

Debtor name        GWD Inc.

United States Bankruptcy Court for the:         DISTRICT OF COLORADO

Case number (if known)
                                                                                                                                               Check if this is an
                                                                                                                                               amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                              12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                 Total claim           Priority amount

2.1       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                               $488.40         $488.40
          Alijah McChriston                                   Check all that apply.
          912 N. 31st Street                                     Contingent
          Colorado Springs, CO 80904                             Unliquidated
                                                                 Disputed

          Date or dates debt was incurred                     Basis for the claim:
                                                              401k contribution
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                 Yes


2.2       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                             $4,689.64         $4,689.64
          Andrew Sample                                       Check all that apply.
          5250 Willowbrook Road                                  Contingent
          Colorado Springs, CO 80917                             Unliquidated
                                                                 Disputed

          Date or dates debt was incurred                     Basis for the claim:
                                                              401k contribution
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                 Yes




Official Form 206E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                    page 1 of 50
                                                                                                              48404
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Debtor      GWD Inc.                                                                                 Case number (if known)
            Name

2.3      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $5,344.51   $5,344.51
         Carlos Gudino                                      Check all that apply.
         7013 Harrier Drive                                    Contingent
         Colorado Springs, CO 80922                            Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            401k contribution
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (5)
                                                               Yes


2.4      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $15,562.10   $15,562.10
         Colorado Department of Revenue                     Check all that apply.
         1881 Pierce Street                                    Contingent
         Attn: Bankruptcy Dept., RM 104                        Unliquidated
         Lakewood, CO 80215                                    Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Sales tax
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.5      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $1,132.16   $1,132.16
         Darrell Hall                                       Check all that apply.
         7095 Metropolitan Street                              Contingent
         Colorado Springs, CO 80911                            Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            401k contributions
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (5)
                                                               Yes


2.6      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $4,494.00   $4,494.00
         Eric Leaming                                       Check all that apply.
         3042 Drakeston Drive                                  Contingent
         Colorado Springs, CO 80909                            Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            401k contribution
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (5)
                                                               Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2 of 50
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Debtor      GWD Inc.                                                                                 Case number (if known)
            Name

2.7      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $1,666.88   $1,666.88
         Eric Nelson                                        Check all that apply.
         624 Alexander Drive                                   Contingent
         Colorado Springs, CO 80908                            Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            401k contribution
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (5)
                                                               Yes


2.8      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown      $0.00
         Gary DeJong                                        Check all that apply.
         4336 N. Nevada Ave.                                   Contingent
         Colorado Springs, CO 80907                            Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Back wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.9      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $16,781.56   $16,781.56
         Gary DeJong                                        Check all that apply.
         4336 N. Nevada Ave.                                   Contingent
         Colorado Springs, CO 80907                            Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            401k contribution
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (5)
                                                               Yes


2.10     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $4,872.46   $4,872.46
         Gregory Robb                                       Check all that apply.
         3253 Tempe Court                                      Contingent
         Colorado Springs, CO 80920                            Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            401k contribution
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (5)
                                                               Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 3 of 50
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Debtor      GWD Inc.                                                                                 Case number (if known)
            Name

2.11     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                        $0.00    $0.00
         Internal Revenue Service                           Check all that apply.
         PO Box 7346                                           Contingent
         Philadelphia, PA 19101-7346                           Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.12     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,897.60   $2,897.60
         Jacob Olson                                        Check all that apply.
         3836 Clovergate Drive                                 Contingent
         Colorado Springs, CO 80920                            Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            401k contribution
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (5)
                                                               Yes


2.13     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $6,625.75   $6,625.75
         Jarod Klein                                        Check all that apply.
         1440 Bellaire Drive                                   Contingent
         Colorado Springs, CO 80907                            Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            401k contribution
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (5)
                                                               Yes


2.14     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $5,536.76   $5,536.76
         Jennifer Stewart                                   Check all that apply.
         5030 Bittercreek Drive                                Contingent
         Colorado Springs, CO 80922                            Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            401k contribution
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (5)
                                                               Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                   Page 4 of 50
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Debtor      GWD Inc.                                                                                 Case number (if known)
            Name

2.15     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $4,832.78   $4,832.78
         Joel Watts                                         Check all that apply.
         1104 Widefield Drive                                  Contingent
         Colorado Springs, CO 80911                            Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            401k contribution
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (5)
                                                               Yes


2.16     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $7,342.32   $7,342.32
         Kenneth Woltz                                      Check all that apply.
         6559 Annahill Place                                   Contingent
         Colorado Springs, CO 80922                            Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            401k contribution
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (5)
                                                               Yes


2.17     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,463.68   $1,463.68
         Mark Henderson                                     Check all that apply.
         7428 Theresa Drive                                    Contingent
         Colorado Springs, CO 80925                            Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            401k contribution
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (5)
                                                               Yes


2.18     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,587.26   $2,587.26
         Ryan Haisley                                       Check all that apply.
         2314 Steambank Drive                                  Contingent
         Colorado Springs, CO 80951                            Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            401k contribution
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (5)
                                                               Yes




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Debtor      GWD Inc.                                                                                 Case number (if known)
            Name

2.19     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,710.73   $2,710.73
         Ryan Haisley                                       Check all that apply.
         2314 Steambank Drive                                  Contingent
         Colorado Springs, CO 80951                            Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Unpaid bonuses
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.20     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $8,976.54   $8,976.54
         Sean Root                                          Check all that apply.
         4890 Polepant Drive                                   Contingent
         Colorado Springs, CO 80918                            Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            401k contribution
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (5)
                                                               Yes


2.21     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $8,736.27   $8,736.27
         Sean Root                                          Check all that apply.
         4890 Polepant Drive                                   Contingent
         Colorado Springs, CO 80918                            Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Unpaid bonuses and vacation time
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.22     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $3,132.75   $3,132.75
         Seth Payton                                        Check all that apply.
         1213 Woodcrest Drive                                  Contingent
         Corpus Christi, TX 78418                              Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            401k contribution
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (5)
                                                               Yes




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Debtor        GWD Inc.                                                                                   Case number (if known)
              Name

2.23       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                       $3,442.72   $3,442.72
           Travis White                                         Check all that apply.
           4633 Brylie Way                                         Contingent
           Colorado Springs, CO 80911                              Unliquidated
                                                                   Disputed

           Date or dates debt was incurred                      Basis for the claim:
                                                                401k contribution
           Last 4 digits of account number                      Is the claim subject to offset?
           Specify Code subsection of PRIORITY                     No
           unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                   Yes



Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim

3.1       Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.                 $5,312.50
          361 Builders                                                            Contingent
          201 Milwaukee Street, Unit 200                                          Unliquidated
          Denver, CO 80206                                                        Disputed
          Date(s) debt was incurred
                                                                              Basis for the claim: Customer deposit
          Last 4 digits of account number
                                                                              Is the claim subject to offset?     No       Yes

3.2       Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.                $97,308.08
          4336 North Nevada                                                       Contingent
          4336 North Nevada Avenue                                                Unliquidated
          Colorado Springs, CO 80907                                              Disputed
          Date(s) debt was incurred
                                                                              Basis for the claim:
          Last 4 digits of account number
                                                                              Is the claim subject to offset?     No       Yes

3.3       Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.                 $6,473.50
          63 Meadow Circle LLC                                                    Contingent
          PO Box 4363                                                             Unliquidated
          Aspen, CO 81612                                                         Disputed
          Date(s) debt was incurred
                                                                              Basis for the claim: Customer deposit
          Last 4 digits of account number
                                                                              Is the claim subject to offset?     No       Yes

3.4       Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.                 $1,705.00
          A&B Construction                                                        Contingent
          5219 Bancroft Hts.                                                      Unliquidated
          Colorado Springs, CO 80906                                              Disputed
          Date(s) debt was incurred
                                                                              Basis for the claim: Customer deposits
          Last 4 digits of account number
                                                                              Is the claim subject to offset?     No       Yes

3.5       Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.                   $325.00
          A-1 Garage Doors                                                        Contingent
          645 D Street                                                            Unliquidated
          Penrose, CO 81240                                                       Disputed
          Date(s) debt was incurred
                                                                              Basis for the claim: Customer deposit
          Last 4 digits of account number
                                                                              Is the claim subject to offset?     No       Yes




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Debtor      GWD Inc.                                                                        Case number (if known)
            Name

3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $302.00
         A-1 Garage Doors                                             Contingent
         645 D Street                                                 Unliquidated
         Penrose, CO 81240                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Depost
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $175.00
         Aaron Dobson                                                 Contingent
         206 Cottonwood Circle                                        Unliquidated
         Salida, CO 81201                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $413.04
         Aaron Miller                                                 Contingent
         15350 Sostrin Lane                                           Unliquidated
         Colorado Springs, CO 80921                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $9,000.00
         Adam Pietraszeak                                             Contingent
         153 Rose Crown Cirle                                         Unliquidated
         Frisco, CO 80443                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $469.83
         Alan Garner                                                  Contingent
         10619 Derby Mesa Court                                       Unliquidated
         Colorado Springs, CO 80924                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $3,010.20
         All Rental Center                                            Contingent
         4780 Austin Bluffs Parkway                                   Unliquidated
         Colorado Springs, CO 80918                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $11,886.00
         Alpine Edge Property                                         Contingent
         PO Box 007                                                   Unliquidated
         Breckenridge, CO 80443                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer deposits
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      GWD Inc.                                                                        Case number (if known)
            Name

3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $623.50
         Amie Urbine                                                  Contingent
         513 Park Lane                                                Unliquidated
         Buena Vista, CO 81211                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $3,903.00
         Amy Dalton                                                   Contingent
         736 Winding Hills Road                                       Unliquidated
         Monument, CO 80132                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $2,121.00
         Amy EinSpahr                                                 Contingent
         1432 Heidi Lane                                              Unliquidated
         Colorado Springs, CO 80907                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $1,500.00
         Andrea Bridges                                               Contingent
         1020 Farragut Avenue                                         Unliquidated
         Colorado Springs, CO 80907                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Depost
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $5,086.50
         Andrew Krawciw                                               Contingent
         16635 County Road 289                                        Unliquidated
         Nathrop, CO 81236                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $625.00
         Angel Zambrano                                               Contingent
         3021 GArland Terrace                                         Unliquidated
         Colorado Springs, CO 80910                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $29,161.57
         Ankmar                                                       Contingent
         4200 Monaco Street                                           Unliquidated
         Denver, CO 80216                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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            Name

3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $413.04
         Anna Jenkins                                                 Contingent
         8654 Meadow Tree Trail                                       Unliquidated
         Colorado Springs, CO 80927                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $7,096.57
         Asshole's Garage                                             Contingent
         2007 Bott Avenue                                             Unliquidated
         Colorado Springs, CO 80904                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $1,469.91
         Aught Six Ranch                                              Contingent
         33000 CO 69                                                  Unliquidated
         Gardner, CO 81040                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $3,050.00
         Avery Bechtel                                                Contingent
         101 Wood Avenue                                              Unliquidated
         Salida, CO 81201                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.24     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $439.00
         Badger Fleet
         c/o Tucker, Albin & Associates                               Contingent
         1702 North Collins Blvd.                                     Unliquidated
         Suite 100                                                    Disputed
         Richardson, TX 75080
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.25     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $798.00
         Battery Plus Bulbs                                           Contingent
         3320 Austin Bluffs Parkway                                   Unliquidated
         Colorado Springs, CO 80918                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.26     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $3,807.50
         Baug Corp                                                    Contingent
         2357 Boxwood Drive                                           Unliquidated
         Allen, TX 75013                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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            Name

3.27     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $228.67
         Becky Roberts                                                Contingent
         4325 Cassidy Street                                          Unliquidated
         Colorado Springs, CO 80911                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.28     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $2,000.00
         Benjamin Malek                                               Contingent
         2754 Rule Road                                               Unliquidated
         Eagle, CO 81631                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.29     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $4,583.62
         Bill's Equipment and Supply                                  Contingent
         125 South Chestnut Street                                    Unliquidated
         Colorado Springs, CO 80905                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.30     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $3,950.00
         Bison Pointe Homeowners Association                          Contingent
         1155 Kelly Johnson Boulevard 495                             Unliquidated
         Colorado Springs, CO 80920                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.31     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $478.59
         Black Forest Reserve HOA                                     Contingent
         c/o Warrent Management                                       Unliquidated
         1720 Jet Stream Drive, #200                                  Disputed
         Colorado Springs, CO 80921
                                                                   Basis for the claim: Customer Deposit
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.32     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $240.00
         Bob Ramsdale                                                 Contingent
         18455 Trail West Drive                                       Unliquidated
         Buena Vista, CO 81211                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.33     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $240.00
         Bob Ramsdell                                                 Contingent
         18455 Trail West Drive                                       Unliquidated
         Buena Vista, CO 81211                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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            Name

3.34     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $7,532.00
         Bottin Construction                                          Contingent
         455 Maverick Way                                             Unliquidated
         Monument, CO 80132                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.35     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $3,285.00
         Brent Buchanan                                               Contingent
         1061 Park West Drive                                         Unliquidated
         Glenwood Springs, CO 81601                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.36     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $2,486.24
         Broadmoor Village                                            Contingent
         4127 San Felice Point                                        Unliquidated
         Colorado Springs, CO 80906                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.37     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $169.84
         Bruce Mahncke                                                Contingent
         409 North Tejon Street                                       Unliquidated
         Colorado Springs, CO 80903                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.38     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $261.50
         Bryan Penny                                                  Contingent
         2743 Lear Drive                                              Unliquidated
         Colorado Springs, CO 80920                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.39     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $853.00
         Bryan Snow                                                   Contingent
         263 Delores Circle                                           Unliquidated
         Glenwood Springs, CO 81601                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.40     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $5,925.00
         Buena Vista Golf Course                                      Contingent
         28775 Fairway Drive                                          Unliquidated
         Buena Vista, CO 81211                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposits
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      GWD Inc.                                                                        Case number (if known)
            Name

3.41     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $175.00
         Caesar Gaddis                                                Contingent
         1310 South Park Drive                                        Unliquidated
         Monument, CO 80132                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.42     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $929.00
         Carey Bare                                                   Contingent
         128 N C Street                                               Unliquidated
         Salida, CO 81201                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.43     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $4,760.00
         Carmen Riehke                                                Contingent
         10724 McKissick Road                                         Unliquidated
         Peyton, CO 80831                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.44     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $175.00
         Cecillia Gentry                                              Contingent
         9145 Bellcove Cir.                                           Unliquidated
         Colorado Springs, CO 80920                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.45     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $24,125.00
         Cedars HOA                                                   Contingent
         300 North Main Street                                        Unliquidated
         Breckenridge, CO 80424                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.46     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $18,621.28
         Chamberlain Group                                            Contingent
         P.O. Box 99152                                               Unliquidated
         Chicago, IL 60693-9152                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.47     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $7,225.50
         Chapman Rentals                                              Contingent
         722 Silver Circle                                            Unliquidated
         Breckenridge, CO 80424                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      GWD Inc.                                                                        Case number (if known)
            Name

3.48     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $1,890.00
         Cheyenne Mountain AFS                                        Contingent
         Norad Road                                                   Unliquidated
         Colorado Springs, CO 80906                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.49     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $26,686.57
         CHI Overhead Doors, Inc.                                     Contingent
         P.O. Box 504246                                              Unliquidated
         Saint Louis, MO 63150-4246                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.50     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $11,266.16
         Chief Petro-Card, Inc.                                       Contingent
         P.O. Box 6239                                                Unliquidated
         Colorado Springs, CO 80934-6239                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.51     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $564.52
         Christie Sonchar                                             Contingent
         5615 Sonnet Ridge Point                                      Unliquidated
         Colorado Springs, CO 80918                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.52     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $3,620.00
         Christopher Elmore                                           Contingent
         13861 COunty Road 270                                        Unliquidated
         Nathrop, CO 81236                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.53     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $413.04
         Christopher Holt                                             Contingent
         8820 Liverpool Lane                                          Unliquidated
         Colorado Springs, CO 80920                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.54     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $3,994.00
         Chuck and Denise Alluisi                                     Contingent
         15980 County Road 306                                        Unliquidated
         Buena Vista, CO 81211                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer deposits
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      GWD Inc.                                                                        Case number (if known)
            Name

3.55     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $240.00
         Cindy Newell                                                 Contingent
         18917 Wapiti Circle                                          Unliquidated
         Buena Vista, CO 81211                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.56     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $30,461.13
         Citibank                                                     Contingent
         P.O. Box 6500                                                Unliquidated
         Sioux Falls, SD 57117                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Credit Card
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.57     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $18,430.87
         Citibank                                                     Contingent
         P.O. Box 6500                                                Unliquidated
         Sioux Falls, SD 57117                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Credit Card
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.58     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $3,572.52
         City Walk Condos                                             Contingent
         4325 North Nevada Avenue 100                                 Unliquidated
         Colorado Springs, CO 80907                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.59     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $8,050.00
         Colorado Spring Power Sports                                 Contingent
         945 Motor City Drive                                         Unliquidated
         Colorado Springs, CO 80905                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.60     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $11,010.00
         Colorado Springs Gazette, LLC                                Contingent
         30 East Pikes Peak Avenue                                    Unliquidated
         Suite 100                                                    Disputed
         Colorado Springs, CO 80905
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.61     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $1,200.00
         Conroy Excavating                                            Contingent
         125 County Road 522 East                                     Unliquidated
         Tabernash, CO 80478                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      GWD Inc.                                                                        Case number (if known)
            Name

3.62     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $80,626.11
         Controlled Products                                          Contingent
         P.O. Box 677436                                              Unliquidated
         Dallas, TX 75267-7436                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.63     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $413.04
         Courtney Dewitte                                             Contingent
         8430 Sweetgum Terrace                                        Unliquidated
         Colorado Springs, CO 80920                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.64     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $5,500.00
         Crossing Jordan Development                                  Contingent
         16835 Cherry Crossing Drive                                  Unliquidated
         Colorado Springs, CO 80921                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.65     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $6,928.51
         Current Construction                                         Contingent
         PO Box 978                                                   Unliquidated
         Buena Vista, CO 81211                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.66     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $5,291.50
         Dale and Susan Anton                                         Contingent
         PO Box 97                                                    Unliquidated
         Poncha Springs, CO 81242                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.67     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $175.00
         Damian Rotolo                                                Contingent
         40 Tulane Street                                             Unliquidated
         Pueblo, CO 81005                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.68     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $1,992.00
         Dan Perkins                                                  Contingent
         563 Wheat Way                                                Unliquidated
         Fairplay, CO 80440                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Depoist
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      GWD Inc.                                                                        Case number (if known)
            Name

3.69     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $2,450.00
         Dan Stover                                                   Contingent
         1100 North Center Street                                     Unliquidated
         Woodland Park, CO 80863                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.70     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $240.00
         Daniel Knigge                                                Contingent
         1105 East Sabeta                                             Unliquidated
         Salida, CO 81201                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.71     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $415.00
         Danielle Plumb                                               Contingent
         5987 Colorado 165                                            Unliquidated
         Wetmore, CO 81253                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.72     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $1,645.00
         David Mikita                                                 Contingent
         6125 Templeton Gap                                           Unliquidated
         Colorado Springs, CO 80923                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.73     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $175.00
         David Nauer                                                  Contingent
         620 Struthers Loop                                           Unliquidated
         Colorado Springs, CO 80921                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.74     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $6,555.00
         David Sudo                                                   Contingent
         14764 Basalt Lane                                            Unliquidated
         Salida, CO 81201                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.75     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $175.00
         Dawn Marsh                                                   Contingent
         1268 Baron Road                                              Unliquidated
         Colorado Springs, CO 80918                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      GWD Inc.                                                                        Case number (if known)
            Name

3.76     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $2,908.98
         De Lage Landen Financial Services                            Contingent
         P.O. Box 41602                                               Unliquidated
         Philadelphia, PA 19101-1602                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.77     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $1,044.50
         Debbie Smith                                                 Contingent
         15850 CR 352                                                 Unliquidated
         Buena Vista, CO 81211                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.78     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $2,269.00
         Derek Schatz                                                 Contingent
         344 Pond Drive                                               Unliquidated
         Fairplay, CO 80440                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.79     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $2,087.50
         Desmond and Joyce McWann                                     Contingent
         5355 North Carefree Circle                                   Unliquidated
         Colorado Springs, CO 80917                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.80     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $12,575.00
         DH Construction                                              Contingent
         7405 US 50                                                   Unliquidated
         Salida, CO 81201                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.81     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $234.40
         Diane Gagnon                                                 Contingent
         4465 Cavendish Drive                                         Unliquidated
         Colorado Springs, CO 80920                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.82     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $210.00
         Dillon Marina                                                Contingent
         150 Marina Drive                                             Unliquidated
         Dillon, CO 80435                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      GWD Inc.                                                                        Case number (if known)
            Name

3.83     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $2,847.00
         Dion Killingsworth                                           Contingent
         14275 E. Coachman Drive                                      Unliquidated
         Colorado Springs, CO 80908                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.84     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $2,080.00
         Don and Stefanie Quashie                                     Contingent
         4813 Bittercreek Drive                                       Unliquidated
         Colorado Springs, CO 80922                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposits
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.85     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $11,937.00
         Don Kirlin                                                   Contingent
         388 Revette Drive                                            Unliquidated
         Breckenridge, CO 80424                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.86     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $2,132.50
         Don Reichelt                                                 Contingent
         2006 Red Valley Road                                         Unliquidated
         Fairplay, CO 80440                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.87     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $6,831.55
         Donna Burge                                                  Contingent
         6260 County Road 255                                         Unliquidated
         Silver Cliff, CO 81252                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.88     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $2,415.00
         Doug Berwick                                                 Contingent
         8015 Poco Road                                               Unliquidated
         Colorado Springs, CO 80908                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer deposits
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.89     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $1,442.50
         Doug Cather                                                  Contingent
         1164 Hill Road                                               Unliquidated
         Hartsel, CO 80449                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.90     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $4,463.00
         Doug McAaliffe                                               Contingent
         138 CR 529                                                   Unliquidated
         Breckenridge, CO 80424                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.91     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $1,400.00
         Douglas Tomerlin                                             Contingent
         1105 Oak Hills Drive                                         Unliquidated
         Colorado Springs, CO 80919                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.92     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $3,255.00
         Edward Casias                                                Contingent
         55 Cottonwood Drive                                          Unliquidated
         Dillon, CO 80435                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.93     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $15,285.28
         Elder Construction                                           Contingent
         4870 Centennial Boulevard 100                                Unliquidated
         Colorado Springs, CO 80919                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.94     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $1,824.00
         Eli Harman                                                   Contingent
         340 Mission Hill Way                                         Unliquidated
         Colorado Springs, CO 80921                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.95     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $175.00
         Eli Wenninger                                                Contingent
         750 Northwoods Drive West                                    Unliquidated
         Woodland Park, CO 80863                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.96     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $1,970.00
         Elk Meadow Properties LLC                                    Contingent
         12992 Paradise Way                                           Unliquidated
         Salida, CO 81201                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      GWD Inc.                                                                        Case number (if known)
            Name

3.97     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $3,020.00
         Ellen Horarik                                                Contingent
         PO Box 735                                                   Unliquidated
         Poncha Springs, CO 81242                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.98     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $34,994.44
         ERC Specialists                                              Contingent
         560 East Timpanogos Circle                                   Unliquidated
         Orem, UT 84097                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.99     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $1,457.85
         Eric Glanzer                                                 Contingent
         547 Douglas Fir Drive                                        Unliquidated
         Woodland Park, CO 80863                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.100    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $880.09
         Express Employment Services                                  Contingent
         P.O. Box 84427                                               Unliquidated
         Los Angeles, CA 90084-4277                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.101    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $5,073.43
         Fastenal Company                                             Contingent
         P.O. Box 978                                                 Unliquidated
         Winona, MN 55987-0978                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.102    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $36.68
         FEDEX Freight                                                Contingent
         P.O. Box 94515                                               Unliquidated
         Palatine, IL 60094-4515                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.103    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $364.87
         Foothills HOA                                                Contingent
         4325 North Nevada Avenue                                     Unliquidated
         Colorado Springs, CO 80907                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.104    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $3,835.77
         Form 44 COnstruction                                         Contingent
         PO Box 10147                                                 Unliquidated
         Aspen, CO 81611                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.105    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $2,464.00
         Forrest Marsh                                                Contingent
         4001 Park County Road                                        Unliquidated
         Fairplay, CO 80440                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.106    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $240.00
         Frank Comstock                                               Contingent
         6391 Terrace Circle                                          Unliquidated
         Salida, CO 81201                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.107    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $413.04
         Frank Jarvis                                                 Contingent
         2945 Westcliffe Cir.                                         Unliquidated
         Colorado Springs, CO 80906                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.108    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $765.00
         Freddie Provenzano                                           Contingent
         2505 Farragut Circle                                         Unliquidated
         Colorado Springs, CO 80907                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.109    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $6,859.99
         Garden of the Gos POA                                        Contingent
         4325 North Nevada Ave. #100                                  Unliquidated
         Colorado Springs, CO 80907                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposits
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.110    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $1,400.00
         Gary Dejong                                                  Contingent
         4750 Stillwell Drive                                         Unliquidated
         Colorado Springs, CO 80920                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      GWD Inc.                                                                        Case number (if known)
            Name

3.111    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $160,930.38
         Gary DeJong                                                  Contingent
         4336 N. Nevada Ave.                                          Unliquidated
         Colorado Springs, CO 80907                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Funds loaned
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.112    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $4,400.00
         Gary Lamontagne                                              Contingent
         7655 Pine Cone Road                                          Unliquidated
         Colorado Springs, CO 80908                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.113    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $3,970.00
         Gene Huismann                                                Contingent
         18255 Davidson Street                                        Unliquidated
         Monument, CO 80132                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.114    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $219.26
         General Air Services and Supply                              Contingent
         1105 Zuni Street                                             Unliquidated
         Denver, CO 80204-3338                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.115    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $2,030.25
         George Lescallett                                            Contingent
         95 East Tamarack Circle                                      Unliquidated
         Parachute, CO 81635                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.116    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $5,648.00
         Gian Balrica                                                 Contingent
         2235 Oak Hills Drive                                         Unliquidated
         Colorado Springs, CO 80919                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposits
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.117    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $2,167.50
         Great West Construction                                      Contingent
         1491 Tuskegee Place                                          Unliquidated
         Colorado Springs, CO 80915                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      GWD Inc.                                                                        Case number (if known)
            Name

3.118    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $1,274.59
         Green Electric                                               Contingent
         637 Winters Drive                                            Unliquidated
         Colorado Springs, CO 80907                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.119    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $249.82
         Greg Overby                                                  Contingent
         17632 Lake Side Drive                                        Unliquidated
         Monument, CO 80132                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.120    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $77.91
         Grenicrete of Colorado                                       Contingent
         720 Palomar Lane                                             Unliquidated
         Colorado Springs, CO 80906                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.121    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $823.82
         Griffin Fast Lube                                            Contingent
         P.O. Box 620130                                              Unliquidated
         Middleton, WI 53562                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.122    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $28,000.00
         H E Whitlock                                                 Contingent
         PO Box 8030                                                  Unliquidated
         Pueblo, CO 81008                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.123    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $4,460.62
         H&E Equipment Service, Inc.                                  Contingent
         P.O. Box 849850                                              Unliquidated
         Dallas, TX 75284                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.124    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $669.69
         Hadley Construction Company                                  Contingent
         6398 Terrace Lane                                            Unliquidated
         Salida, CO 81201                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      GWD Inc.                                                                        Case number (if known)
            Name

3.125    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $7,417.50
         Hammerwell Incorporated                                      Contingent
         12402 Gold Water Circle                                      Unliquidated
         Salida, CO 81201                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.126    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $13,556.02
         Hansen Const.                                                Contingent
         310 Aspen Airport Business Center                            Unliquidated
         Aspen, CO 81611                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.127    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $1,500.00
         Heather Harmala                                              Contingent
         126 Vail Circle                                              Unliquidated
         Dillon, CO 80435                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.128    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $825.00
         Hermec Landscaping                                           Contingent
         780 Seeding Court                                            Unliquidated
         Colorado Springs, CO 80915                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.129    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $3,695.00
         High Point Roofing                                           Contingent
         5555 Erindale Drive STE 200                                  Unliquidated
         Colorado Springs, CO 80918                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.130    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $650.00
         Holcim                                                       Contingent
         444 East Costilla Street                                     Unliquidated
         Colorado Springs, CO 80903                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.131    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $4,450.00
         Holcim                                                       Contingent
         444 E. COstilla Street                                       Unliquidated
         Colorado Springs, CO 80903                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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            Name

3.132    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $1,088.29
         Holman Automotive                                            Contingent
         2425 East Platte Place                                       Unliquidated
         Colorado Springs, CO 80909                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.133    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $3.95
         Holy Apostles Convent                                        Contingent
         29001 County Road 187                                        Unliquidated
         Buena Vista, CO 81211                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.134    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $1,300.00
         Ideal Moutnain Roofing                                       Contingent
         32382 Meadow Mountain Road                                   Unliquidated
         Evergreen, CO 80439                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.135    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $10,080.00
         Jamie Winsand                                                Contingent
         N5204 558th Street                                           Unliquidated
         Menomonie, WI 54751                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.136    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $1,562.00
         Janelle Cinocco                                              Contingent
         7832 French Road                                             Unliquidated
         Colorado Springs, CO 80920                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.137    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $175.00
         Jason Hernandez                                              Contingent
         715 San Bruno Place                                          Unliquidated
         Colorado Springs, CO 80906                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.138    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $3,172.50
         JD Built Homes                                               Contingent
         5762 Garmish Road                                            Unliquidated
         Colorado Springs, CO 80918                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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            Name

3.139    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $1,469.00
         Jean Hanfelt                                                 Contingent
         237 Shavano Avenue                                           Unliquidated
         Salida, CO 81201                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.140    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $6,000.00
         Jeff Hale                                                    Contingent
         15245 CO Rd 162                                              Unliquidated
         Nathrop, CO 81236                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.141    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $1,650.00
         Jeff Hauser                                                  Contingent
         238 High Meadows Drive                                       Unliquidated
         Florence, CO 81226                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.142    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $2,210.00
         Jeffrey Togie                                                Contingent
         123 Lumberjack Road                                          Unliquidated
         Fairplay, CO 80440                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.143    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $534.50
         Jerry Mallow                                                 Contingent
         90 Emerald Place                                             Unliquidated
         Howard, CO 81233                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.144    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $5,855.00
         Jill Lowry                                                   Contingent
         9905 East Cheyenne Circle                                    Unliquidated
         Salida, CO 81201                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.145    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $2,000.00
         Jim and Kathy Kotora                                         Contingent
         8221 Winding Passage Drive                                   Unliquidated
         Colorado Springs, CO 80924                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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            Name

3.146    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $1,272.00
         Jim Campassi                                                 Contingent
         429 C Street                                                 Unliquidated
         Salida, CO 81201                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.147    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $1,500.00
         Jim Collier                                                  Contingent
         15735 Birdie Lane                                            Unliquidated
         Buena Vista, CO 81211                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.148    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $2,263.50
         Joanie Meyers                                                Contingent
         370 Allegheny Drive                                          Unliquidated
         Colorado Springs, CO 80919                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.149    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $175.00
         Joe Kim                                                      Contingent
         5699 Wolf Village Drive                                      Unliquidated
         Colorado Springs, CO 80924                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.150    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $175.00
         John McGrady                                                 Contingent
         9535 Desert Lily Circle                                      Unliquidated
         Colorado Springs, CO 80925                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.151    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $1,418.07
         Jorge Marioni                                                Contingent
         129 West Home Avenue                                         Unliquidated
         Silt, CO 81652                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.152    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $2,950.00
         Josh Anderson                                                Contingent
         14 Pleasure Trail                                            Unliquidated
         Penrose, CO 81240                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.153    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $4,122.25
         Kari Rogne                                                   Contingent
         PO Box 783                                                   Unliquidated
         Avon, CO 81620                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.154    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $5,185.00
         Kasey Irons                                                  Contingent
         941 Blazzing Saddle Trail                                    Unliquidated
         Cotopaxi, CO 81223                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.155    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $1,469.00
         Kathy Nelson                                                 Contingent
         335 Tate Trce                                                Unliquidated
         Canon City, CO 81212                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.156    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $4,115.00
         Keith Dayton                                                 Contingent
         2445 County Road 164                                         Unliquidated
         Kremmling, CO 80459                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.157    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $2,690.00
         Kellog Contracting                                           Contingent
         30095 Private Road 43                                        Unliquidated
         Kiowa, CO 80117                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.158    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $460.00
         Ken and Becky Colgate                                        Contingent
         3570 Colorado 69                                             Unliquidated
         Cotopaxi, CO 81223                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Depoist
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.159    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $1,650.95
         Ken Bailey                                                   Contingent
         1410 Dustry Drive                                            Unliquidated
         Colorado Springs, CO 80905                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.160    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $937.00
         Ken Stolba                                                   Contingent
         807 South Gunnison Avenue                                    Unliquidated
         Buena Vista, CO 81211                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.161    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $3,405.00
         Kerstin Stock                                                Contingent
         1135 F Street                                                Unliquidated
         Salida, CO 81201                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.162    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $420.00
         Kevin Krabbe                                                 Contingent
         10769 Sawatch Range Road                                     Unliquidated
         Salida, CO 81201                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.163    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $6,135.00
         Kinsman Construction                                         Contingent
         17700 South Golden Road 200                                  Unliquidated
         Golden, CO 80401                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.164    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $11,853.79
         Knies, Helland and McPherson law                             Contingent
         1122 North El Paso Street                                    Unliquidated
         Colorado Springs, CO 80903                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.165    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $3,029.00
         Kurt Miller                                                  Contingent
         7455 Walker Road                                             Unliquidated
         Colorado Springs, CO 80908                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.166    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $940.00
         Kurt Miller                                                  Contingent
         16850 CR 363                                                 Unliquidated
         Buena Vista, CO 81211                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      GWD Inc.                                                                        Case number (if known)
            Name

3.167    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $2,500.00
         Lakeside Auto                                                Contingent
         810 Brianna Point                                            Unliquidated
         Colorado Springs, CO 80905                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.168    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $5,000.00
         Larry Kachadourian                                           Contingent
         6322 CR 178                                                  Unliquidated
         Salida, CO 81201                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.169    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $3,202.00
         Laura Johnson                                                Contingent
         1819 Pinyon Jay Drive                                        Unliquidated
         Colorado Springs, CO 80951                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.170    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $3,823.50
         Leo Marchase                                                 Contingent
         1505 Carraway Court                                          Unliquidated
         Colorado Springs, CO 80907                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.171    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $3,645.00
         Lester Younger                                               Contingent
         5919 Thurber Drive                                           Unliquidated
         Colorado Springs, CO 80924                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.172    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $4,946.00
         Lewis Sundquist                                              Contingent
         187 Rasor Drive                                              Unliquidated
         Keystone, CO 80435                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposits
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.173    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $2,295.00
         Lisa Parrish                                                 Contingent
         16165 Gold Creek Drive                                       Unliquidated
         Monument, CO 80132                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      GWD Inc.                                                                        Case number (if known)
            Name

3.174    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $175.00
         Lucas Bare                                                   Contingent
         1303 G Street                                                Unliquidated
         Salida, CO 81201                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.175    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $12,211.50
         Lucas Karhoff                                                Contingent
         18940 County Road 162                                        Unliquidated
         Nathrop, CO 81236                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.176    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $4,000.00
         Mark Alamo                                                   Contingent
         11805 West Range View Drive                                  Unliquidated
         Calhan, CO 80808                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.177    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $4,830.00
         Mark Gordon                                                  Contingent
         3480 Birnawood Drive                                         Unliquidated
         Colorado Springs, CO 80920                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.178    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $4,500.00
         Mark Jarvis                                                  Contingent
         13307 County Road 45                                         Unliquidated
         Coaldale, CO 81222                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.179    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $204,396.65
         Martin Door                                                  Contingent
         P.O. Box 27437                                               Unliquidated
         Salt Lake City, UT 84127                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.180    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $175.00
         Mary Wood                                                    Contingent
         2309 Winstead View                                           Unliquidated
         Colorado Springs, CO 80920                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      GWD Inc.                                                                        Case number (if known)
            Name

3.181    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $39,500.00
         Mel-Ro Construction                                          Contingent
         414 Auburn Dr.                                               Unliquidated
         Colorado Springs, CO 80909                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.182    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $9,390.50
         Melinda Hunter                                               Contingent
         510 Bearing Tree Road                                        Unliquidated
         Breckenridge, CO 80424                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.183    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $550.00
         Michelle Johnson                                             Contingent
         651 Old Kathleen Trail                                       Unliquidated
         Guffey, CO 80820                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.184    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $10,000.00
         Middle Fork RV Park LLC                                      Contingent
         255 US Highway 285                                           Unliquidated
         Fairplay, CO 80440                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.185    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $175.00
         Mike Dodson                                                  Contingent
         5740 Tomah Drive                                             Unliquidated
         Colorado Springs, CO 80918                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposits
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.186    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $294.02
         Mike Krause                                                  Contingent
         545 Silver Spring Circle                                     Unliquidated
         Colorado Springs, CO 80919                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.187    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $3,650.00
         Mike McCave                                                  Contingent
         8955 Palamino Ridge View                                     Unliquidated
         Colorado Springs, CO 80931                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      GWD Inc.                                                                        Case number (if known)
            Name

3.188    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $750.10
         Mike Schultz                                                 Contingent
         36625 County Road 46 PP                                      Unliquidated
         Villa Grove, CO 81155                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.189    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $400.00
         Mike's Garage                                                Contingent
         249 F Street                                                 Unliquidated
         Salida, CO 81201                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.190    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $265.00
         Mountain Fox Garage                                          Contingent
         644 Elkton Drive                                             Unliquidated
         Colorado Springs, CO 80907                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.191    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $5,500.00
         Mountain PRime Management                                    Contingent
         PO Box 154                                                   Unliquidated
         Frisco, CO 80443                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.192    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $3,360.00
         Murphy's Building and Remodeling                             Contingent
         4975 Neal Ranch Road                                         Unliquidated
         Colorado Springs, CO 80906                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.193    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $7,883.00
         Murphy's Custom Home                                         Contingent
         13710 Struthers Road 105B                                    Unliquidated
         Colorado Springs, CO 80921                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.194    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $1,366.50
         Nancy Kirkland                                               Contingent
         31015 West Ridge                                             Unliquidated
         Buena Vista, CO 81211                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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            Name

3.195    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $175.00
         Natalie Crow                                                 Contingent
         16 May Street                                                Unliquidated
         Colorado Springs, CO 80906                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.196    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $1,342.42
         NationServe                                                  Contingent
         1847 South Murray Boulevard                                  Unliquidated
         Colorado Springs, CO 80916                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.197    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $6,855.50
         Neu Designs                                                  Contingent
         PO Box 2880                                                  Unliquidated
         Frisco, CO 80443                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposits
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.198    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $3,776.00
         Nick Lombardi                                                Contingent
         9081 Range Lane                                              Unliquidated
         Salida, CO 81201                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.199    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $14,816.00
         Northside BV                                                 Contingent
         717 Snow Street                                              Unliquidated
         Chattanooga, TN 37405                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Depoist
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.200    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $1,650.00
         Norwood Development                                          Contingent
         111 South Tejon Street                                       Unliquidated
         Colorado Springs, CO 80903                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.201    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $1,375.00
         Overhead Roofing of CO Springs                               Contingent
         3385 Busch Avenue 5                                          Unliquidated
         Colorado Springs, CO 80904                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      GWD Inc.                                                                        Case number (if known)
            Name

3.202    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $1,193.58
         Paradise Villas                                              Contingent
         1720 Jet Stream Drive 200                                    Unliquidated
         Colorado Springs, CO 80921                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.203    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $285.00
         Pat Gammon                                                   Contingent
         3860 Orchard Drive                                           Unliquidated
         Colorado Springs, CO 80920                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.204    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $2,100.00
         Patterson Custom Homes                                       Contingent
         411 Sunbird Cliffs Lane                                      Unliquidated
         Colorado Springs, CO 80919                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.205    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $6,973.00
         Paul Davis Restoration                                       Contingent
         PO Box 4312                                                  Unliquidated
         Avon, CO 81620                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.206    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $8,700.50
         Paul Inge                                                    Contingent
         8315 County Road 144                                         Unliquidated
         Salida, CO 81201                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.207    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $1,749.00
         Paul Jordan                                                  Contingent
         2122 North Circle Drive                                      Unliquidated
         Colorado Springs, CO 80909                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.208    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $3,000.00
         Pete Cordova                                                 Contingent
         7350 Martha's Lane                                           Unliquidated
         Salida, CO 81201                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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            Name

3.209    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $2,378.00
         Pete Sprouse                                                 Contingent
         3730 Saints Court                                            Unliquidated
         Colorado Springs, CO 80904                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.210    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $3,266.50
         Peter Hope                                                   Contingent
         4750 Chaparral Road                                          Unliquidated
         Colorado Springs, CO 80917                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.211    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $3,980.00
         Peter Karl                                                   Contingent
         13307 CR 261A                                                Unliquidated
         Nathrop, CO 81236                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.212    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $2,055.00
         PG Arnold                                                    Contingent
         3109 28th Street                                             Unliquidated
         Boulder, CO 80301                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Depoist
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.213    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $3,495.00
         Phyllis Ruder                                                Contingent
         PO Box 335                                                   Unliquidated
         Minturn, CO 81645                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.214    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $2,100.00
         Pinecrest                                                    Contingent
         CO of Briffs Blessing                                        Unliquidated
         3734 E. La Salle                                             Disputed
         Colorado Springs, CO 80909
                                                                   Basis for the claim: Customer Deposit
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.215    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $1,115.00
         Poles Inc.                                                   Contingent
         336 Clarksley Road                                           Unliquidated
         Manitou Springs, CO 80829                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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            Name

3.216    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $210.00
         Production Points                                            Contingent
         11675 Ridgeline Drive                                        Unliquidated
         Colorado Springs, CO 80921                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.217    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $794.33
         Progressive Insurance                                        Contingent
                                                                      Unliquidated
         Date(s) debt was incurred                                    Disputed
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?     No       Yes

3.218    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $1,860.00
         Progressive Property Group                                   Contingent
         431 West Bijou Street                                        Unliquidated
         Colorado Springs, CO 80905                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.219    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $11,755.00
         Randsberger Inc.                                             Contingent
         PO Box 2123                                                  Unliquidated
         Frisco, CO 80443                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.220    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $175.00
         Randy Harrell                                                Contingent
         7250 Horseshoe Road                                          Unliquidated
         Colorado Springs, CO 80923                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.221    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $750.10
         Randy Schulz                                                 Contingent
         4467 McGrew Circle                                           Unliquidated
         Colorado Springs, CO 80911                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.222    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $4,360.00
         Rangeline Homes, Inc.                                        Contingent
         279965 Meadow Drive                                          Unliquidated
         Evergreen, CO 80439                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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            Name

3.223    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $757.50
         Red Beards Lawrence Lawncare Plus, LLC                       Contingent
         880 Beacon Lite Road 32                                      Unliquidated
         Monument, CO 80132                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.224    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $13,092.13
         Reliant Construction                                         Contingent
         957 East Filmore Street                                      Unliquidated
         Colorado Springs, CO 80907                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.225    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $527.00
         Rich Eisenring                                               Contingent
         1812 Four Seasons Blvd.                                      Unliquidated
         Leadville, CO 80461                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.226    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $458.00
         Richard Philippi                                             Contingent
         19270 Glen Hollow Circle                                     Unliquidated
         Monument, CO 80132                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.227    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $4,321.00
         Rick Hinds                                                   Contingent
         11285 Hodgen Road                                            Unliquidated
         Colorado Springs, CO 80106                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.228    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $3,428.00
         River Valley Builders                                        Contingent
         PO Box 1206                                                  Unliquidated
         Salida, CO 81201                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposits
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.229    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $3,600.00
         Rob Whalen                                                   Contingent
         209 Teller Street                                            Unliquidated
         Salida, CO 81201                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      GWD Inc.                                                                        Case number (if known)
            Name

3.230    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $700.00
         Robert Haycock                                               Contingent
         195 Caywood Court                                            Unliquidated
         New Castle, CO 81647                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.231    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $1,612.50
         Robertson's Landscaping                                      Contingent
         1050 East Cheyenne Road                                      Unliquidated
         Colorado Springs, CO 80905                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.232    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $5,300.00
         Rocio Mendoza                                                Contingent
         828 West 24th Street                                         Unliquidated
         Rifle, CO 81650                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.233    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $252.00
         Ron Hummel                                                   Contingent
         11600 Las Colinas Drive                                      Unliquidated
         Salida, CO 81201                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.234    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $727.35
         Ron Ilgen                                                    Contingent
         21 Spinner Place                                             Unliquidated
         Silverthorne, CO 80498                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.235    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $273.07
         Ron Leikam                                                   Contingent
         29315 County Road 358                                        Unliquidated
         Buena Vista, CO 81211                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.236    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $3,775.00
         Ruben Mendez                                                 Contingent
         2634 Inspiration Drive                                       Unliquidated
         Colorado Springs, CO 80917                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      GWD Inc.                                                                        Case number (if known)
            Name

3.237    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $550.00
         RW Window Tint                                               Contingent
         914 Motor City Drive                                         Unliquidated
         Colorado Springs, CO 80905                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.238    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $2,815.00
         Ryan Blake                                                   Contingent
         10862 Cottage Lane                                           Unliquidated
         Loretto, MN 55357                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.239    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $293.69
         Ryan Tate                                                    Contingent
         122 High Meadows Terrace                                     Unliquidated
         Florence, CO 81226                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.240    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $5,597.50
         S&T Construction                                             Contingent
         PO Box 1075                                                  Unliquidated
         Buena Vista, CO 81211                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposits
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.241    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $9,815.00
         Schmidt Construction Co.                                     Contingent
         2635 Delta Drive                                             Unliquidated
         Colorado Springs, CO 80910                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.242    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $9,671.96
         SCIB LLC                                                     Contingent
         115 Boomerang Road 5201B                                     Unliquidated
         Aspen, CO 81611                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.243    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $379.07
         Scott and Debbie Powers                                      Contingent
         16600 Kiowa Drive                                            Unliquidated
         Salida, CO 81201                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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            Name

3.244    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $1,662.50
         Scott Boss                                                   Contingent
         4625 Bradford Heights                                        Unliquidated
         Colorado Springs, CO 80906                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposits
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.245    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $1,983.00
         Scott Mattingly                                              Contingent
         7092 Autumn Creek Drive                                      Unliquidated
         Canon City, CO 81212                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.246    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $9,500.00
         Scott Young                                                  Contingent
         982 CR 245                                                   Unliquidated
         New Castle, CO 81647                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.247    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $175.00
         Sean Doanhue                                                 Contingent
         3650 Moonrise Court                                          Unliquidated
         Colorado Springs, CO 80904                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.248    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $3,450.00
         Sean Glackin                                                 Contingent
         214 James Street                                             Unliquidated
         Buena Vista, CO 81211                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposits
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.249    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $2,304.91
         SES                                                          Contingent
         3467 Rider Trail South                                       Unliquidated
         Earth City, MO 63045                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.250    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $10,308.50
         Shane Smith                                                  Contingent
         2995 County Road 311                                         Unliquidated
         New Castle, CO 81647                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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            Name

3.251    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $2,176.00
         Shantel Eggleston                                            Contingent
         2000 County Road 6                                           Unliquidated
         Coaldale, CO 81222                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.252    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $557.60
         Shirley Dominick                                             Contingent
         7555 County Road 156                                         Unliquidated
         Salida, CO 81201                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.253    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $987.00
         Signature Homes                                              Contingent
         6380 Corporate Drive 230                                     Unliquidated
         Colorado Springs, CO 80919                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.254    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $5,758.20
         Skylink                                                      Contingent
         1180-D East Francis Street                                   Unliquidated
         Ontario, CA 91761                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.255    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $3,036.55
         Solid Rock Custom Homes                                      Contingent
         924 Elkton Drive                                             Unliquidated
         Colorado Springs, CO 80907                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.256    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $45,449.05
         Southwest Automated Security                                 Contingent
         Altus Receivable Management                                  Unliquidated
         2121 Airline Drive, Suite 520                                Disputed
         Metairie, LA 70001
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.257    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $24,949.47
         Southwest Chase Visa                                         Contingent
         P.O. Box 15123                                               Unliquidated
         Wilmington, DE 19850                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Credit Card
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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            Name

3.258    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $2,660.00
         Stan and Janice Summers                                      Contingent
         3760 Cottage Drive                                           Unliquidated
         Colorado Springs, CO 80920                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.259    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $10,803.87
         Star Ranch HOA                                               Contingent
         4325 North Nevada Unit 110                                   Unliquidated
         Colorado Springs, CO 80907                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.260    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $1,580.00
         Stella McCune                                                Contingent
         4021 Wakely Drive                                            Unliquidated
         Colorado Springs, CO 80909                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.261    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $175.00
         Steve Herringa                                               Contingent
         6925 Forestgate Drive                                        Unliquidated
         Colorado Springs, CO 80908                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.262    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $2,654.00
         Steve Thibodeaux                                             Contingent
         450 Cole Creek Road                                          Unliquidated
         Carbondale, CO 81623                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.263    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $1,449.00
         Steven Parker                                                Contingent
         14205 Westchester Drive                                      Unliquidated
         Colorado Springs, CO 80921                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.264    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $3,049.30
         Stratton Pines                                               Contingent
         CO Dorman Management                                         Unliquidated
         2760 N. Academy Blvd. 201                                    Disputed
         Colorado Springs, CO 80917
                                                                   Basis for the claim: Customer Deposit
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.265    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $3,931.00
         Sun Peak Builders                                            Contingent
         167 Moonlight Way                                            Unliquidated
         Moffat, CO 81143                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.266    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $1,425.00
         Sun Water Spa                                                Contingent
         514 El Paso Blvd.                                            Unliquidated
         Manitou Springs, CO 80829                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.267    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $1,795.17
         Susie Smith                                                  Contingent
         920 Rockafellow Avenue                                       Unliquidated
         Canon City, CO 81212                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.268    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $16,400.00
         Tally Ho Construction                                        Contingent
         111 East 3rd Street                                          Unliquidated
         Rifle, CO 81650                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.269    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $285.00
         Tami Kinsley                                                 Contingent
         100 Ohler Court                                              Unliquidated
         Jefferson, CO 80456                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.270    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $4,497.50
         Terralink Structure                                          Contingent
         PO Box 1242                                                  Unliquidated
         Carbondale, CO 81623                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.271    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $408.00
         Thomas Covert                                                Contingent
         12398 County Road 261                                        Unliquidated
         Nathrop, CO 81236                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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            Name

3.272    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $2,394.00
         Tim Braun                                                    Contingent
         15 Bucksin Court                                             Unliquidated
         Carbondale, CO 81623                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.273    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $3,105.00
         Tim Malouf                                                   Contingent
         13121 Northridge Road                                        Unliquidated
         Weston, CO 81091                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.274    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $1,616.00
         Tom Bjornson                                                 Contingent
         PO Box 3882                                                  Unliquidated
         Vail, CO 81658                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.275    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $1,350.00
         True Focus Fabrication                                       Contingent
         PO Box 76120                                                 Unliquidated
         Colorado Springs, CO 80907                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.276    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $13,000.00
         Ty Amendt                                                    Contingent
         20800 CR 129                                                 Unliquidated
         Simla, CO 80835                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.277    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $815.84
         UC Health                                                    Contingent
         P.O. Box 732031                                              Unliquidated
         Dallas, TX 75373-2031                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.278    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $3,242.28
         Unifirst Corporation                                         Contingent
         P.O. Box 650481                                              Unliquidated
         Dallas, TX 75265-0448                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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            Name

3.279    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $17,181.07
         United Chase Visa                                            Contingent
         PO Box 6294                                                  Unliquidated
         Carol Stream, IL 60197-6294                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Credit Card
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.280    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $81.15
         Update Printing                                              Contingent
         2515 Laramie Drive, Suite 180                                Unliquidated
         Colorado Springs, CO 80910                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.281    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $10,037.60
         V3 Custom Homes                                              Contingent
         30499 Stampede Run                                           Unliquidated
         Buena Vista, CO 81211                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.282    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $18,645.10
         Vectra Bank Colorado                                         Contingent
         P.O. Box 25786                                               Unliquidated
         Salt Lake City, UT 84125                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Credit Card
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.283    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $750.00
         Vince Stoldt                                                 Contingent
         230 Wendy Drive                                              Unliquidated
         Cotopaxi, CO 81223                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.284    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $3,875.21
         Wade Crow                                                    Contingent
         1530 Woodrose Court                                          Unliquidated
         Colorado Springs, CO 80921                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.285    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $240.00
         Walt Liams                                                   Contingent
         1220 I St.                                                   Unliquidated
         Salida, CO 81201                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                     Page 47 of 50
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Debtor      GWD Inc.                                                                        Case number (if known)
            Name

3.286    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $175.00
         Walter Jenkins                                               Contingent
         230 E Stirrup Trail                                          Unliquidated
         Monument, CO 80132                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.287    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $16,218.00
         Wasatch Carriage House Doors                                 Contingent
         P.O. Box 1173                                                Unliquidated
         Pleasant Grove, UT 84062                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.288    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $30.00
         Wayne Paton                                                  Contingent
         3112 Dent Ave.                                               Unliquidated
         Colorado Springs, CO 80904                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.289    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $486.52
         Welch Equipment                                              Contingent
         5025 Nome Street                                             Unliquidated
         Denver, CO 80239                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.290    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $440.49
         Weldon Creek                                                 Contingent
         14301 Mica Court                                             Unliquidated
         Salida, CO 81201                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.291    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $11,333.33
         West Group                                                   Contingent
         3870 Mark Dabling Blvd.                                      Unliquidated
         Colorado Springs, CO 80907                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.292    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $601.00
         Western Slope Management                                     Contingent
         331 Main Street                                              Unliquidated
         Frisco, CO 80443                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                     Page 48 of 50
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Debtor       GWD Inc.                                                                               Case number (if known)
             Name

3.293     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                  $477.44
          Western Steel, Inc.                                                 Contingent
          3350 Drennan Industrial Loop North                                  Unliquidated
          Colorado Springs, CO 80910                                          Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number
                                                                           Is the claim subject to offset?         No     Yes

3.294     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                  $437.61
          Westmeadow Peaks Apt.                                               Contingent
          1472 Meadow Peak View                                               Unliquidated
          Colorado Springs, CO 80906                                          Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Customer Deposit
          Last 4 digits of account number
                                                                           Is the claim subject to offset?         No     Yes

3.295     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $33,473.53
          Westwinds Wholesale Doors                                           Contingent
          US Impact, Inc.                                                     Unliquidated
          P.O. Box 1746                                                       Disputed
          Mandeville, LA 70470
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?         No     Yes


3.296     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $1,075.78
          Widefield Sch. District                                             Contingent
          4445 Foreign Trade Zone Blvd.                                       Unliquidated
          Colorado Springs, CO 80925                                          Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Customer Deposit
          Last 4 digits of account number
                                                                           Is the claim subject to offset?         No     Yes

3.297     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                  $531.10
          Yates Construction                                                  Contingent
          402 Park Avenue                                                     Unliquidated
          Basalt, CO 81621                                                    Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Customer Deposit
          Last 4 digits of account number
                                                                           Is the claim subject to offset?         No     Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                    related creditor (if any) listed?              account number, if
                                                                                                                                                   any
4.1       Garfield & Hecht
          625 East Hyman Avenue, Suite 201                                                          Line     3.3
          Aspen, CO 81611
                                                                                                           Not listed. Explain


Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
5a. Total claims from Part 1                                                                           5a.          $                     113,316.87
5b. Total claims from Part 2                                                                           5b.    +     $                   1,804,210.62


Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 49 of 50
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Debtor      GWD Inc.                                                 Case number (if known)
            Name


5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                5c.     $              1,917,527.49




Official Form 206 E/F            Schedule E/F: Creditors Who Have Unsecured Claims                           Page 50 of 50
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Fill in this information to identify the case:

Debtor name       GWD Inc.

United States Bankruptcy Court for the:     DISTRICT OF COLORADO

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            Lease for space in
           lease is for and the nature of        Colorado Springs
           the debtor's interest

               State the term remaining
                                                                                    4336 North Nevada
           List the contract number of any                                          4336 North Nevada Avenue
                 government contract                                                Colorado Springs, CO 80907


2.2.       State what the contract or            Lease for space in
           lease is for and the nature of        Salida - $1,170 per
           the debtor's interest                 month

               State the term remaining          1 year
                                                                                    Rains, LLC
           List the contract number of any                                          132 W. Rainbow Blvd.
                 government contract                                                Salida, CO 81201


2.3.       State what the contract or            Commerical space in
           lease is for and the nature of        Glenwood Springs -
           the debtor's interest                 $2,460 per month

               State the term remaining          5 months
                                                                                    Tres, Ltd.
           List the contract number of any                                          1750 County Road 109
                 government contract                                                Glenwood Springs, CO 81601




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1
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Fill in this information to identify the case:

Debtor name      GWD Inc.

United States Bankruptcy Court for the:   DISTRICT OF COLORADO

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Gary DeJong                 4336 N. Nevada Ave.                                       Controlled Products                D
                                      Colorado Springs, CO 80907                                                                   E/F       3.62
                                                                                                                                   G




   2.2    Gary DeJong                 4336 N. Nevada Ave.                                       NationServe                        D
                                      Colorado Springs, CO 80907                                                                   E/F       3.196
                                                                                                                                   G




   2.3    Gary DeJong                 4336 N. Nevada Ave.                                       Martin Door                        D
                                      Colorado Springs, CO 80907                                                                   E/F       3.179
                                                                                                                                   G




   2.4    Gary DeJong                 4336 N. Nevada Ave.                                       Vectra Bank                        D   2.11
                                      Colorado Springs, CO 80907                                                                   E/F
                                                                                                                                   G




   2.5    Gary DeJong                 4336 N. Nevada Ave.                                       Vectra Bank                        D   2.12
                                      Colorado Springs, CO 80907                                                                   E/F
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 2
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Debtor    GWD Inc.                                                                Case number (if known)


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                          Column 2: Creditor



  2.6     Gary DeJong              4336 N. Nevada Ave.                                 Vectra Bank                        D   2.13
                                   Colorado Springs, CO 80907                                                             E/F
                                                                                                                          G




Official Form 206H                                              Schedule H: Your Codebtors                                      Page 2 of 2
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Fill in this information to identify the case:

Debtor name         GWD Inc.

United States Bankruptcy Court for the:    DISTRICT OF COLORADO

Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                             $3,373,989.77
      From 1/01/2023 to Filing Date
                                                                                          Other    Business Operations


      For prior year:                                                                     Operating a business                             $8,116,716.00
      From 1/01/2022 to 12/31/2022
                                                                                          Other    Business Operations


      For year before that:                                                               Operating a business                             $4,964,604.00
      From 1/01/2021 to 12/31/2021
                                                                                          Other    Business Operations

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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Debtor       GWD Inc.                                                                     Case number (if known)



      Creditor's Name and Address                            Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                 Check all that apply
      3.1.
             Service Titan                                                                    $17,972.23           Secured debt
             800 N Brand Blvd. #700                                                                                Unsecured loan repayments
             Glendale, CA 91203                                                                                    Suppliers or vendors
                                                                                                                   Services
                                                                                                                   Other


      3.2.
             Redirect Health                                                                  $20,935.00           Secured debt
             13430 N. Scottsdale Road, Suite 200                                                                   Unsecured loan repayments
             Scottsdale, AZ 85254                                                                                  Suppliers or vendors
                                                                                                                   Services
                                                                                                                   Other


      3.3.
             4336 North Nevada                                                                $17,490.00           Secured debt
             4336 North Nevada Avenue                                                                              Unsecured loan repayments
             Colorado Springs, CO 80907                                                                            Suppliers or vendors
                                                                                                                   Services
                                                                                                                   Other Rent


      3.4.
             Linda Buckley                                                                    $15,000.00           Secured debt
                                                                                                                   Unsecured loan repayments
                                                                                                                   Suppliers or vendors
                                                                                                                   Services
                                                                                                                   Other


      3.5.
             Colorado Springs Gazette, LLC                                                    $14,960.00           Secured debt
             30 East Pikes Peak Avenue                                                                             Unsecured loan repayments
             Suite 100                                                                                             Suppliers or vendors
             Colorado Springs, CO 80905
                                                                                                                   Services
                                                                                                                   Other


      3.6.
             Express Employment Services                                                      $14,000.00           Secured debt
             P.O. Box 84427                                                                                        Unsecured loan repayments
             Los Angeles, CA 90084-4277                                                                            Suppliers or vendors
                                                                                                                   Services
                                                                                                                   Other


      3.7.
             Firma                                                                            $13,680.00           Secured debt
                                                                                                                   Unsecured loan repayments
                                                                                                                   Suppliers or vendors
                                                                                                                   Services
                                                                                                                   Other


      3.8.
             Auto-Owners Insurance                                                            $11,806.76           Secured debt
             6101 Anacapri Blvd.                                                                                   Unsecured loan repayments
             Lansing, MI 48917                                                                                     Suppliers or vendors
                                                                                                                   Services
                                                                                                                   Other Insurance premiums




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Debtor       GWD Inc.                                                                     Case number (if known)



      Creditor's Name and Address                            Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                 Check all that apply
      3.9.
             Ryan Haisley                                                                     $11,548.56           Secured debt
                                                                                                                   Unsecured loan repayments
                                                                                                                   Suppliers or vendors
                                                                                                                   Services
                                                                                                                   Other


      3.10
      .
           ENT Federal Credit Union                                                           $11,344.61           Secured debt
             7250 Campus Drive                                                                                     Unsecured loan repayments
             Colorado Springs, CO 80920
                                                                                                                   Suppliers or vendors
                                                                                                                   Services
                                                                                                                   Other


      3.11
      .
           Midwest Family Mutual Insurance                                                    $10,155.54           Secured debt
             4401 Westown Parkway                                                                                  Unsecured loan repayments
             Suite 306                                                                                             Suppliers or vendors
             West Des Moines, IA 50266                                                                             Services
                                                                                                                   Other Insurance premiums


      3.12
      .
           ENT Credit Union                                                                     $9,761.70          Secured debt
             P.O. Box 16769                                                                                        Unsecured loan repayments
             Colorado Springs, CO 80935                                                                            Suppliers or vendors
                                                                                                                   Services
                                                                                                                   Other Credit card


      3.13
      .
           NationServe                                                                          $9,591.57          Secured debt
             1847 South Murray Boulevard                                                                           Unsecured loan repayments
             Colorado Springs, CO 80916
                                                                                                                   Suppliers or vendors
                                                                                                                   Services
                                                                                                                   Other


      3.14
      .
           Cornell Iron Works                                                                   $8,946.40          Secured debt
             1901 S Litchfield Road                                                                                Unsecured loan repayments
             Goodyear, AZ 85338
                                                                                                                   Suppliers or vendors
                                                                                                                   Services
                                                                                                                   Other


      3.15
      .
           Tres Energy                                                                          $7,680.00          Secured debt
             6702 Broadway                                                                                         Unsecured loan repayments
             Galveston, TX 77550                                                                                   Suppliers or vendors
                                                                                                                   Services
                                                                                                                   Other


      3.16
      .
           Elegant Custom Garage Door & Gate                                                    $7,638.00          Secured debt
             8768 Hellman Ave., Unit B                                                                             Unsecured loan repayments
             Rancho Cucamonga, CA 91730                                                                            Suppliers or vendors
                                                                                                                   Services
                                                                                                                   Other




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Debtor       GWD Inc.                                                                           Case number (if known)



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor
      4.1.   Gary DeJong                                           Regular                         $110,346.47           Salary for work done
             4336 N. Nevada Ave.                                   Salary
             Colorado Springs, CO 80907
             Sole Shareholder

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

             Case title                                Nature of case              Court or agency's name and                 Status of case
             Case number                                                           address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

             Recipient's name and address              Description of the gifts or contributions                 Dates given                            Value


Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

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Debtor        GWD Inc.                                                                            Case number (if known)




          None

      Description of the property lost and             Amount of payments received for the loss                   Dates of loss           Value of property
      how the loss occurred                                                                                                                            lost
                                                       If you have received payments to cover the loss, for
                                                       example, from insurance, government compensation, or
                                                       tort liability, list the total received.

                                                       List unpaid claims on Official Form 106A/B (Schedule
                                                       A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

               Who was paid or who received              If not money, describe any property transferred               Dates                Total amount or
               the transfer?                                                                                                                         value
               Address
      11.1.    Kutner Brinen Dickey Riley,
               P.C.
               1660 Lincoln Street, Suite
               1720
               Denver, CO 80264                                                                                                                  $15,000.00

               Email or website address


               Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                            Describe any property transferred                     Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

              Who received transfer?                   Description of property transferred or                     Date transfer             Total amount or
              Address                                  payments received or debts paid in exchange                was made                           value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

               Address                                                                                             Dates of occupancy
                                                                                                                   From-To

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Debtor      GWD Inc.                                                                             Case number (if known)



Part 8:     Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


               Facility name and address                Nature of the business operation, including type of services                If debtor provides meals
                                                        the debtor provides                                                         and housing, number of
                                                                                                                                    patients in debtor’s care

Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?

                       No Go to Part 10.
                      Yes. Fill in below:
                    Name of plan                                                                        Employer identification number of the plan
                    AOD                                                                                 EIN: XX-XXXXXXX

                    Has the plan been terminated?
                       No
                       Yes


Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and            Last 4 digits of           Type of account or          Date account was                  Last balance
              Address                                   account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.

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Debtor      GWD Inc.                                                                            Case number (if known)




         None

      Facility name and address                             Names of anyone with                  Description of the contents               Does debtor
                                                            access to it                                                                    still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                            Court or agency name and              Nature of the case                        Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known           Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known           Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None




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Debtor      GWD Inc.                                                                            Case number (if known)



   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        Carolyn Wharton PC
                    3870 Mark Dabling Blvd.
                    Colorado Springs, CO 80907

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                             Position and nature of any                    % of interest, if
                                                                                                  interest                                      any
      Gary DeJong                             4336 N. Nevada Ave.                                 Sole shareholder                              100%
                                              Colorado Springs, CO 80907



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?


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Debtor      GWD Inc.                                                                            Case number (if known)




           No
           Yes. Identify below.

             Name and address of recipient             Amount of money or description and value of               Dates             Reason for
                                                       property                                                                    providing the value
      30.1 Gary DeJong
      .    4336 N. Nevada Ave.
             Colorado Springs, CO 80907                $110,346.47                                               Past Year         Salary

             Relationship to debtor
             Sole Shareholder


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                      Employer Identification number of the parent
                                                                                                       corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                            Employer Identification number of the pension
                                                                                                       fund

Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         September 14, 2023

/s/ Gary Dejong                                                 Gary Dejong
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor    President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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                                                      United States Bankruptcy Court
                                                                    District of Colorado
 In re    GWD Inc.                                                                                                Case No.
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder
Gary DeJong                                                                                                                  100%
4336 N. Nevada Ave.
Colorado Springs, CO 80907


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



Date September 14, 2023                                                  Signature /s/ Gary Dejong
                                                                                        Gary Dejong

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                               United States Bankruptcy Court
                                                           District of Colorado
 In re    GWD Inc.                                                                                Case No.
                                                                     Debtor(s)                    Chapter      11




                                   VERIFICATION OF CREDITOR MATRIX


I, the President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




Date:     September 14, 2023                             /s/ Gary Dejong
                                                         Gary Dejong/President
                                                         Signer/Title
